                                      Case 22-15156-AJC                            Doc 22              Filed 07/26/22                   Page 1 of 199

              Fill in this information to identify your case:

 Debtor 1                   Edward Kane Moffly, Jr.
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new             and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                7,500.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              39,096.57

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              46,596.57

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $              50,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                             $          4,826,145.03

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                               $          4,883,342.46


                                                                                                                                     Your total liabilities $            9,759,487.49


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................              $                6,952.11

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,465.98

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal, family, or household
                purpose. 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
                                  Case 22-15156-AJC                  Doc 22        Filed 07/26/22                 Page 2 of 199
 Debtor 1     Moffly, Edward Kane Jr.                                                        Case number (if known) 22-15156-AJC

 8.    From the                                            : Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $


 9.    Copy the following special categories of claims from Part 4, line 6 of                        :

                                                                                                             Total claim
       From Part 4 on                , copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                       $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $

       9d. Student loans. (Copy line 6f.)                                                                     $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                   $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +$


       9g. Total. Add lines 9a through 9f.                                                               $




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
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                                       Case 22-15156-AJC                           Doc 22            Filed 07/26/22           Page 3 of 199

               Fill in this information to identify your case and this filing:

 Debtor 1                    Edward Kane Moffly, Jr.
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number            22-15156-AJC                                                                                                                          Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                    Single-family home                         Do not deduct secured claims or exemptions. Put
        6277 Sea Harbor Dr                                                          Duplex or multi-unit building
                                                                                                                               the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                     Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative

                                                                                    Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Orlando                           FL        32821-8043                      Land                                       entire property?           portion you own?
        City                              State          ZIP Code                   Investment property                                  $7,500.00                   $7,500.00
                                                                                    Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                    Debtor 1 only
                                                                                    Debtor 2 only
        County                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                    At least one of the debtors and another        (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                            $7,500.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2022 CINGroup - www.cincompass.com
                                  Case 22-15156-AJC                      Doc 22          Filed 07/26/22              Page 4 of 199
 Debtor 1         Moffly, Edward Kane Jr.                                                                      Case number (if known)     22-15156-AJC
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      BMW                                     Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:      2011                                       Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                160000            Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                    At least one of the debtors and another
         X5 (Diesel)
                                                               Check if this is community property                               $4,687.00                 $4,687.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      Hydrasport                              Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     Runabout                                   Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:      2011                                       Debtor 2 only                                           Current value of the      Current value of the
                                                               Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                    At least one of the debtors and another
                                                               Check if this is community property                            $10,000.00                  $10,000.00
         Outboard Boat                                         (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $14,687.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
        Yes. Describe.....
                                    Bed, Couch, Dining Room Table, Kitchenware                                                                                 $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No
        Yes. Describe.....
                                    TV                                                                                                                         $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
      No
        Yes. Describe.....
                                    Miscellaneous Art                                                                                                          $500.00



Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
                                         Case 22-15156-AJC                                     Doc 22                 Filed 07/26/22   Page 5 of 199
 Debtor 1         Moffly, Edward Kane Jr.                                                                                         Case number (if known)   22-15156-AJC
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
             instruments
     No
       Yes. Describe.....
                                           Mandolin (Washburn)                                                                                                             $450.00

                                           Mandolin (Folkstyle)                                                                                                            $250.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes. Describe.....
                                           Everday wear, Suits, shirts, pants, shoes and miscellaneous
                                           No Commercial Resale value                                                                                                         $0.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
       Yes. Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                    $2,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                     Institution name:


                                             17.1.       Checking Account                        Wells Fargo                                                              $4,158.46



                                             17.2.       Checking Account                        Citibank                                                                  $110.11


Official Form 106A/B                                                                      Schedule A/B: Property                                                               page 3
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                                  Case 22-15156-AJC                    Doc 22           Filed 07/26/22          Page 6 of 199
 Debtor 1        Moffly, Edward Kane Jr.                                                                  Case number (if known)    22-15156-AJC

18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                           % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                           Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                  Institution name or individual:
                                     Security Deposit on                   Ernst Kasper                                                            $4,000.00
                                     Rental Unit


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.




Official Form 106A/B                                                Schedule A/B: Property                                                              page 4
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                                    Case 22-15156-AJC                           Doc 22             Filed 07/26/22                  Page 7 of 199
 Debtor 1        Moffly, Edward Kane Jr.                                                                                    Case number (if known)         22-15156-AJC
28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers compensation, Social Security benefits;
              unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner s, or renter s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                                  Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................              $8,268.57

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 5
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                                       Case 22-15156-AJC                                Doc 22              Filed 07/26/22                     Page 8 of 199
 Debtor 1         Moffly, Edward Kane Jr.                                                                                               Case number (if known)   22-15156-AJC

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
      No
        Yes. Give specific information.........
                                               BP Monitor / Blood Oxygen Monitor                                                                                                $300.00

                                               Back Salary and taxes from Hygea Holdings et al; Anticipated
                                               dividend from Hygea
                                               Chapter 11 Case - Hygea Health Holdings, Inc - Case Number
                                               #20-10362 Delaware Bktcy                                                                                                     $13,741.00


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                $14,041.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................               $7,500.00
 56. Part 2: Total vehicles, line 5                                                                           $14,687.00
 57. Part 3: Total personal and household items, line 15                                                       $2,000.00
 58. Part 4: Total financial assets, line 36                                                                   $8,268.57
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +           $14,041.00

 62. Total personal property. Add lines 56 through 61...                                                      $38,996.57              Copy personal property total          $38,996.57

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $46,496.57




Official Form 106A/B                                                               Schedule A/B: Property                                                                         page 6
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                                  Case 22-15156-AJC                        Doc 22       Filed 07/26/22             Page 9 of 199

              Fill in this information to identify your case:

 Debtor 1                 Edward Kane Moffly, Jr.
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
                                                                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on                            that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
                     that lists this property                 portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

      BMW                                                             $4,687.00                                 $1,000.00     Fla. Stat. § 222.25(1)
      2011
      160000                                                                              100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                         any applicable statutory limit

      BMW                                                             $4,687.00                                 $1,300.00     Fla. Stat. § 222.25(4)
      2011
      160000                                                                              100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                         any applicable statutory limit

      Mandolin (Washburn)                                                 $450.00                                             Fla. Stat. § 222.25(4)
      Line from Schedule A/B: 9.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

      Mandolin (Folkstyle)                                                $250.00                                             Fla. Stat. § 222.25(4)
      Line from Schedule A/B: 9.2
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

      Wells Fargo                                                     $4,158.46                                 $1,000.00     Fla. Const. Art X, § 4(a)(2)
      Line from Schedule A/B: 17.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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                                 Case 22-15156-AJC                  Doc 22       Filed 07/26/22             Page 10 of 199

 Debtor 1    Moffly, Edward Kane Jr.                                                              Case number (if known)   22-15156-AJC
 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                        page 2 of 2
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                                    Case 22-15156-AJC                      Doc 22           Filed 07/26/22             Page 11 of 199

              Fill in this information to identify your case:

 Debtor 1                   Edward Kane Moffly, Jr.
                            First Name                       Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
                                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Connexus Credit Union                    Describe the property that secures the claim:                 $50,000.00               $50,000.00                     $0.00
         Creditor's Name
                                                  2011 Hydrasport Runabout
                                                  Outboard Boat
                                                  As of the date you file, the claim is: Check all that
         PO Box 8026                              apply.
         Wausau, WI 54402-8026                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Boat Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number       9810


 Add the dollar value of your entries in Column A on this page. Write that number here:                                $50,000.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                               $50,000.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
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                            Note to Schedules E and F

       Debtor was, for years, an officer and director of Hygea Health Holdings, Inc. (“Hygea”),
along with more than 30 affiliated entities. The considerable majority of the creditors listed are
those of Hygea and its affiliates, who may attempt to assert personal claims against the Debtor.
         Given the number of Hygea-affiliated entities, there is considerable overlap and duplication
in the listed debts, as the same creditor may be listed to several different companies.
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      Fill in this information to identify your case:

 Debtor 1                     Edward Kane Moffly, Jr.
                              First Name                     Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                       Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim        Priority               Nonpriority
                                                                                                                                          amount                 amount
              Florida Department of Financial
 2.1          Services                                             Last 4 digits of account number                           unknown                   $0.00                   $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              1715 N West Shore Blvd Ste 320
              Tampa, FL 33607-3931
              Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
              Debtor 1 only                                           Unliquidated
              Debtor 2 only
                                                                      Disputed
              Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
              At least one of the debtors and another                 Domestic support obligations

              Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
              No
                                                                      Other. Specify
              Yes




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 Debtor 1 Moffly, Edward Kane Jr.                                                                     Case number (if known)       22-15156-AJC

 2.2      Florida Department of Revenue                        Last 4 digits of account number                         unknown             $0.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 8045
          Tallahassee, FL 32314-8045
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes


 2.3      Georgia Department of Revenue                        Last 4 digits of account number                         unknown             $0.00         $0.00
          Priority Creditor's Name
          Att: Bankruptcy/ARCS,                                When was the debt incurred?
          1800 Century Blvd NE Ste 9100
          Atlanta, GA 30345-3202
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes


 2.4      Georgia Department of Revenue                        Last 4 digits of account number                         unknown             $0.00         $0.00
          Priority Creditor's Name
          Att: Bankruptcy/ARCS,                                When was the debt incurred?
          1800 Century Blvd NE Ste 9100
          Atlanta, GA 30345-3202
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes




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 Debtor 1 Moffly, Edward Kane Jr.                                                                     Case number (if known)       22-15156-AJC

 2.5      IRS                                                  Last 4 digits of account number                       $30,000.00       $30,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea of Delaware

 2.6      IRS                                                  Last 4 digits of account number                       $15,000.00       $15,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea Holdings Corp

                                                                                                                   $1,725,013.5      $1,725,013.
 2.7      IRS                                                  Last 4 digits of account number                                0               50         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea Health Holdings




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 Debtor 1 Moffly, Edward Kane Jr.                                                                     Case number (if known)       22-15156-AJC

 2.8      IRS                                                  Last 4 digits of account number                       $95,000.00       $95,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 First Harbour Health Management

 2.9      IRS                                                  Last 4 digits of account number                       $11,213.52       $11,213.52         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Florida Group Healthcare

 2.1
 0        IRS                                                  Last 4 digits of account number                       $15,000.00       $15,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea IGP of Central Florida




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 2.1
 1        IRS                                                  Last 4 digits of account number                       $85,000.00       $85,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea of Georgia

 2.1
 2        IRS                                                  Last 4 digits of account number                     $172,888.20       $172,888.20         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 MedLife Activity Center

 2.1
 3        IRS                                                  Last 4 digits of account number                       $30,000.00       $30,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm AC MSO




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 Debtor 1 Moffly, Edward Kane Jr.                                                                     Case number (if known)       22-15156-AJC

 2.1
 4        IRS                                                  Last 4 digits of account number                       $20,000.00       $20,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm Allcare Medicaid MSO

 2.1
 5        IRS                                                  Last 4 digits of account number                       $20,000.00       $20,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm Allcare MSO

 2.1
 6        IRS                                                  Last 4 digits of account number                       $45,000.00       $45,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm Medical Group




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 2.1
 7        IRS                                                  Last 4 digits of account number                       $50,000.00       $50,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm MSO System

 2.1
 8        IRS                                                  Last 4 digits of account number                       $20,000.00       $20,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm PGA MSO

 2.1
 9        IRS                                                  Last 4 digits of account number                     $150,000.00       $150,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Physician Management Associates SE




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 2.2
 0        IRS                                                  Last 4 digits of account number                       $80,133.24       $80,133.24         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Physicians Group Alliance

 2.2
 1        IRS                                                  Last 4 digits of account number                       $15,000.00       $15,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Primum Alternatives Inc.

 2.2
 2        IRS                                                  Last 4 digits of account number                       $41,548.14       $41,548.14         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          8511 S Sam Houston Pkwy E Ste
          200
          Houston, TX 77075-4874
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Primum Healthcare LLC




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 2.2
 3        IRS                                                  Last 4 digits of account number                     $130,676.74       $130,676.74         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          324 25th St
          Ogden, UT 84401-2310
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Professional Health Choice Inc

 2.2
 4        IRS                                                  Last 4 digits of account number                     $463,191.53       $463,191.53         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Harbour First Medical Centers

 2.2
 5        IRS                                                  Last 4 digits of account number                       $10,000.00       $10,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea of Delaware




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 2.2
 6        IRS                                                  Last 4 digits of account number                           $285.15         $285.15         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea Holdings Corp

 2.2
 7        IRS                                                  Last 4 digits of account number                     $326,190.27       $326,190.27         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea Health Holdings

 2.2
 8        IRS                                                  Last 4 digits of account number                         $5,000.00       $5,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 First Harbour Health Management




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 2.2
 9        IRS                                                  Last 4 digits of account number                     $938,593.42       $938,593.42         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 First Harbour Medical Centers

 2.3
 0        IRS                                                  Last 4 digits of account number                       $17,307.49       $17,307.49         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Gemini Healthcare Fund

 2.3
 1        IRS                                                  Last 4 digits of account number                         $5,000.00       $5,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea IGP of Central Florida




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 2.3
 2        IRS                                                  Last 4 digits of account number                         $2,000.00         $2,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6670 Hygea Medical Centers of Florida

 2.3
 3        IRS                                                  Last 4 digits of account number                         $5,000.00         $5,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea of Georgia

 2.3
 4        IRS                                                  Last 4 digits of account number                               $0.00           $0.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Hygea of Georgia




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 2.3
 5        IRS                                                  Last 4 digits of account number                         $1,500.00       $1,500.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm Medical Network

 2.3
 6        IRS                                                  Last 4 digits of account number                       $10,000.00       $10,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Palm MSO Medical

 2.3
 7        IRS                                                  Last 4 digits of account number                       $30,000.00       $30,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Physicians Management Associates SE




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 2.3
 8        IRS                                                  Last 4 digits of account number                       $15,048.58       $15,048.58         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Physicians Group Alliance

 2.3
 9        IRS                                                  Last 4 digits of account number                       $10,000.00       $10,000.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          8511 S Sam Houston Pkwy E Ste
          200
          Houston, TX 77075-4874
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Primum Alternatives

 2.4
 0        IRS                                                  Last 4 digits of account number                           $400.00         $400.00         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          8511 S Sam Houston Pkwy E Ste
          200
          Houston, TX 77075-4874
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Primum Healthcare




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 2.4
 1        IRS                                                  Last 4 digits of account number                       $22,580.18       $22,580.18         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          324 25th St
          Ogden, UT 84401-2310
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Professional Healthchoice

 2.4
 2        IRS                                                  Last 4 digits of account number                         $1,582.42       $1,582.42         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Florida Group Healthcare

 2.4
 3        IRS                                                  Last 4 digits of account number                       $10,992.65       $10,992.65         $0.00
          Priority Creditor's Name
                                                               When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
          Debtor 1 only                                           Unliquidated
          Debtor 2 only
                                                                  Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:
          At least one of the debtors and another                 Domestic support obligations

          Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
          No
                                                                  Other. Specify
          Yes                                                                      IRC 6672 Medlife Activity Center




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 2.4
 4         Laura Bronstein                                     Last 4 digits of account number                     $200,000.00       $200,000.00         $0.00
           Priority Creditor's Name
                                                               When was the debt incurred?
           1036 E Shore Dr
           Ithaca, NY 14850-1028
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
           Debtor 1 only                                          Unliquidated
           Debtor 2 only                                          Disputed
           Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:
           At least one of the debtors and another                Domestic support obligations
           Check if this claim is for a community debt            Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
           No
                                                                  Other. Specify
           Yes                                                                     Child Support

 2.4       State of Florida - Dept. of
 5         Revenue                                             Last 4 digits of account number                         unknown             $0.00         $0.00
           Priority Creditor's Name
           c/o Frederick F. Rudzik, Esq.                       When was the debt incurred?
           PO Box 6668
           Tallahassee, FL 32314-6668
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
           Debtor 1 only                                          Unliquidated
           Debtor 2 only
                                                                  Disputed
           Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:
           At least one of the debtors and another                Domestic support obligations

           Check if this claim is for a community debt            Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
           No
                                                                  Other. Specify
           Yes


 2.4       State of Florida - Dept. of
 6         Revenue                                             Last 4 digits of account number                         unknown             $0.00         $0.00
           Priority Creditor's Name
                                                               When was the debt incurred?
           7937 NW 10th St
           Plantation, FL 33322-5149
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
           Debtor 1 only                                          Unliquidated
           Debtor 2 only
                                                                  Disputed
           Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:
           At least one of the debtors and another                Domestic support obligations

           Check if this claim is for a community debt            Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
           No
                                                                  Other. Specify
           Yes



 Part 2:     List All of Your NONPRIORITY Unsecured Claims




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 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        2209021 Ontario Inc.                                     Last 4 digits of account number                                                                    unknown
            Nonpriority Creditor's Name
            c/o Blank Rome LLP,                                      When was the debt incurred?
            1201 N Market St Ste 800
            Wilmington, DE 19801-1807
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify


 4.2        53rd Ave East Medical Center PA                          Last 4 digits of account number                                                                    unknown
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            4908 64th Dr W
            Bradenton, FL 34210-4051
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent

                 Debtor 2 only                                           Unliquidated

                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify




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 4.3      Accountemps                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Robert Half, Att: Karen Lima,                       When was the debt incurred?
          PO Box 5024
          San Ramon, CA 94583-5024
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.4      Adaptive Healthcare Solutions LLC                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3875 Roland Hayes Pkwy SW
          Calhoun, GA 30701-7501
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.5      Adler Office Associates, LLC                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 865295
          Orlando, FL 32886-5295
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.6      ADT Security Services Inc.                              Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 371878
          Pittsburgh, PA 15250-7878
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          Advisory Trust Group as Trustee
 4.7      Hygea                                                   Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
          c/o Robert Elgidely, Esq. Fox                           When was the debt incurred?
          Rothschile
          2 S Biscayne Blvd Ste 2750
          Miami, FL 33131-1833
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.8      AES Credit                                              Last 4 digits of account number                                                       $16,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 61047
          Harrisburg, PA 17106-1047
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated

              Debtor 1 and Debtor 2 only                             Disputed
                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.9      Aetna Inc.                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Aaron McCollough,                                   When was the debt incurred?
          77 W Wacker Dr Ste 4100
          Chicago, IL 60601-1683
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10     AFLAC                                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Remittance Processing Svcs.,                            When was the debt incurred?
          1932 Wynnton Rd
          Columbus, GA 31999-0001
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.11     Akerman, LLP                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          98 SE 7th St Ste 110
          Miami, FL 33131-3522
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.12     Alan M. Schwartz                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1742 NW 124th Way
          Coral Springs, FL 33071-7888
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13     Alberto Marrero Arias                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8461 Johnson St
          Pembroke Pines, FL 33024-6603
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14     Aldrich Cardiovascular Institute                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6310 Health Pkwy Ste 330
          Lakewood Ranch, FL 34202
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.15     Alex Moffly                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3626 Van Ness St NW
          Washington, DC 20008-3129
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16     Alexander Tirado                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 NW 168th St Ste 301
          North Miami Beach, FL 33169-6051
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17     All Care Management Services, Inc.                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Hygea Holdings                                      When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.18     Allertech Laboratories Inc.                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Levey Law Firm PA,                                  When was the debt incurred?
          1688 Meridian Ave Ste 900
          Miami Beach, FL 33139-2712
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          Alleus Health Ltd. DBA Alleus
 4.19     Health                                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          400 Poydras St Ste 1165
          New Orleans, LA 70130-3336
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.20     Amir and Faye Fahmy                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o M. Seese PA                                         When was the debt incurred?
          101 NE 3rd Ave Ste 1270
          Fort Lauderdale, FL 33301-1111
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.21     Amir Fahmy MD, PA                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3400 Burns Rd Ste 101
          Palm Beach Gardens, FL
          33410-4352
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          AmTrust North America Inc. OBO
 4.22     Technolog                                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Maurice Wutscher LLP,                               When was the debt incurred?
          23611 Chagrin Blvd Ste 207
          Beachwood, OH 44122-5540
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.23     Anda, Inc.                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2915 Weston Rd
          Weston, FL 33331-3627
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.24     Anda, Inc.                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Shariberg Landau & Page PA,                         When was the debt incurred?
          2385 NW Executive Center Dr Ste
          300
          Boca Raton, FL 33431-8530
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25     Archive America Limited                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3455 NW 54th St
          Miami, FL 33142-3309
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26     Aria Moffly                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          401 Redlands St
          Playa del Rey, CA 90293-8035
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.27     Arlene E. Richards, MD PA                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          499 NW 70th Ave Ste 220
          Plantation, FL 33317-7573
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          Arthur J. Gallagher Risk
 4.28     Management Svcs                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Remittance Processing Svcs.                             When was the debt incurred?
          39683 Treasury Ctr
          Chicago, IL 60694-9600
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.29     AT&T                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 5019
          Carol Stream, IL 60197-5019
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.30     Ballard Spahr LLP                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1735 Market St Fl 51
          Philadelphia, PA 19103-7507
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.31     Ballard Spahr LLP                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1980 Festival Plaza Dr Ste 900
          Las Vegas, NV 89135-2958
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.32     Barry Smith MD, PC                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          11 Willow Lake Dr
          Warner Robins, GA 31093-8523
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.33     Beedie Investments Ltd.                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          At: Ori Katz & Jordan Hamburger,                        When was the debt incurred?
          4 Embarcadero Ctr Fl 17
          San Francisco, CA 94111-4106
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.34     Biomed Medical Compliance                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          16657 Deer Path Ln
          Loxahatchee, FL 33470-5014
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.35     Blalock & Walters, PA                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          802 11th St W
          Bradenton, FL 34205-7734
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.36     Bridging Finance Inc.                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           77 King St West 2925
           Toronto Ontario Canada
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Hygea


 4.37     Brinks Home Security                                    Last 4 digits of account number                                                       $1,184.09
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 814530
          Dallas, TX 75381-4530
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.38     Broad & Cassell                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Nelson Mullin Riley & Scarburough                       When was the debt incurred?
          2 S Biscayne Blvd Ste 2100
          Miami, FL 33131-1811
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.39     Bruce Romanello                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7941 Waterton Ln
          Lakewood Ranch, FL 34202-2146
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.40     Capital City Consulting, LLC                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          101 E College Ave Ste 502
          Tallahassee, FL 32301-7742
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.41     Capital Office Products                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          210 Fentress Blvd
          Daytona Beach, FL 32114-1231
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.42     Cardinal Health 414 LLC                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Erin Gapinski,                                     When was the debt incurred?
          7000 Cardinal Pl
          Dublin, OH 43017-1091
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          Cardiology Consultants of W.
 4.43     Broward PA                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Frank Weinberg & Black PL,                          When was the debt incurred?
          1875 NW Corporate Blvd Ste 100
          Boca Raton, FL 33431-8550
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.44     Carl Rosenkratz, MD                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          4458 Woodfield Blvd
          Boca Raton, FL 33434-5310
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.45     CEA Atlantic Advisors, LLC                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          101 E Kennedy Blvd Ste 3300
          Tampa, FL 33602-5151
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.46     Centurion Financial Trust                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Blank Rome LLP,                                     When was the debt incurred?
          1201 N Market St Ste 800
          Wilmington, DE 19801-1807
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.47     Chaker Dahan, MD                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6833 Valhalla Way
          Windermere, FL 34786-5627
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.48     Change Healthcare                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 572490
          Murray, UT 84157-2490
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.49     Chrysler Capital                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 961275
          Ft Worth, TX 76161-0275
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.50     Citibank                                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          388 Greenwich St
          New York, NY 10013-2375
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.51     Claudia Pena                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7937 NW 10th St
          Plantation, FL 33322-5149
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.52     Claudio F. Arellano                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          14590 SW 30th St
          Miami, FL 33175-6627
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.53     Clear Capital Advisors LLC                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1801 Century Park E Ste 450
          Los Angeles, CA 90067-2306
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.54     Clifton Larson Allen LLP                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          220 S 6th St Ste 300
          Minneapolis, MN 55402-1418
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.55     Clifton Larson Allen LLP                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          210 Fentress Blvd
          Daytona Beach, FL 32114-1231
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.56     Coffey Burlington, PL                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2601 S Bayshore Dr Ph
          Miami, FL 33133-5417
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.57     Comcast                                                 Last 4 digits of account number                                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 71211
          Charlotte, NC 28272-1211
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.58     Cormack Securities Ltd.                                 Last 4 digits of account number                                                       $150,000.00
          Nonpriority Creditor's Name
          Bay Street                                              When was the debt incurred?
          Toronto Ontario 1800 PO Box 63
          Toronto Canada M5J 2-J2
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.59     Coverall of South Florida, Inc.                         Last 4 digits of account number                                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          13850 SW 143rd Ct
          Miami, FL 33186-6120
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.60     Ct Solutions, Inc.                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 117024
          Atlanta, GA 30368-7024
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          Cypress Real Estate Investments
 4.61     LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Fox Swibel Levin & Carroll,                         When was the debt incurred?
          200 W Madison St Ste 3000
          Chicago, IL 60606-3417
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.62     Dan K. Miller                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1360 Trowbridge Rd
          Bloomfield Hills, MI 48304-2947
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.63     Daniel T. McGowan                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          34 Hammock Beach Cir S
          Palm Coast, FL 32137-3385
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.64     David Hernandez                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          185 SW 7th St Apt 3301
          Miami, FL 33130-2982
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.65     David Zirulnikoff                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          19355 Turnberry Way Apt 16L
          Aventura, FL 33180-2534
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.66     De Lage Landen Financial Services                       Last 4 digits of account number                                                           unknown
          Nonpriority Creditor's Name
          c/o RPRSC, George Zinkler III,                          When was the debt incurred?
          101 NE 3rd Ave Ste 1800
          Fort Lauderdale, FL 33301-1252
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.67     Denarii Systems                                         Last 4 digits of account number                                                       $2,500,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2601 S Bayshore Dr
          Miami, FL 33133-5417
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.68     Denis Kleinfeld                                         Last 4 digits of account number                                                           unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          801 NE 167th St Ste 306
          North Miami Beach, FL 33162-3729
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.69     DLL Group                                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1111 Old Eagle School Rd
          Wayne, PA 19087-1453
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.70     Dorsey & Whitney LLP                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          50 S 6th St Ste 1500
          Minneapolis, MN 55402-1498
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.71     Dr. Irwin & Valerie Solomon                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Lavin Law Group PA,                                 When was the debt incurred?
          2670 NE 215th St
          Miami, FL 33180-1127
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.72     Dr. Valerie Solomon                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          101 E Kennedy Blvd Ste 3300
          Tampa, FL 33602-5151
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.73     Dubbin & Kravetz, LLP                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1200 Anastasia Ave Ste 300
          Coral Gables, FL 33134-6364
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.74     Eclinicalworks, LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 847950
          Boston, MA 02284-7950
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.75     Electromed Solutions, LLC                               Last 4 digits of account number                                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1534 Sir Henrys Trl
          Lakeland, FL 33809-5040
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.76     Elite Recreational Finance                              Last 4 digits of account number                                                       $550,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          701 Enterprise Rd E Ste 203
          Safety Harbor, FL 34695-5303
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.77     Enrique Cadena                                          Last 4 digits of account number                                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2601 S Bayshore Dr
          Miami, FL 33133-5417
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.78     Epifania Colon Burgos                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Thomas C. Allison PA                                When was the debt incurred?
          180 N Park Ave # 2A
          Winter Park, FL 32789-7401
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.79     Erica R. Williams                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2441 Walker Cir
          Sarasota, FL 34234-7447
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.80     Ernesto Izquierdo                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          280 Wekiva Springs Rd Ste 1000
          Longwood, FL 32779-6098
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.81     Ernst and Patricia Kasper                               Last 4 digits of account number                                                       $18,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3214 Lakeshore Dr # Driver
          Florence, SC 29501-8263
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated

              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.82     Estate of Charles Lee Baston                            Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
          c/o Thomas C. Allison, Esquire                          When was the debt incurred?
          180 N Park Ave Ste 2A
          Winter Park, FL 32789-7401
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.83     Estate of Howard Sussman, MD                            Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          13157 Majestic Way
          Fort Lauderdale, FL 33330-2658
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.84     Evan Moffly                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          26 Seneca St
          Trumansburg, NY 14886-9177
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.85     Ewal B. Persaud Jr.                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1455 Spring Rd SE Apt 204
          Smyrna, GA 30080-3773
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.86     Ewaul Barrington Persuad                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1455 Spring Rd SE Apt 204
          Smyrna, GA 30080-3773
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.87     Fifth Third Bank                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          200 E Las Olas Blvd Ste 1200
          Fort Lauderdale, FL 33301-2491
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.88     Financial Pacific Leasing Inc.                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3455 S 344th Way Ste 300
          Federal Way, WA 98001-9546
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          First Harbour Health Management
 4.89     LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7320 Delainey Ct
          Sarasota, FL 34240-8445
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.90     First Harbour Medical Centers, LLC                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.91     First Insurance Funding Corp.                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 7000
          Carol Stream, IL 60197-7000
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.92     Fischer Family Trust                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          595 Oak Commons Blvd Ste B
          Kissimmee, FL 34741-4211
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.93     Fleming PLLC                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 332
          Point Lookout, NY 11569-0332
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.94     Florida Blue                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 660299
          Dallas, TX 75266-0299
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.95     Florida Group Healthcare, LLC                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Hygea Holdings                                      When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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          Florida Hospital Physician
 4.96     Network, LLC                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          101 Southhall Ln Ste 150
          Maitland, FL 32751-7497
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



          Florida Institute of Health, Ltd.
 4.97     LLLP                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.98     FPL                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Bankruptcy Dept.                                   When was the debt incurred?
          4200 W Flagler St
          Miami, FL 33134-1606
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.99     Francis Kelly                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Masako Watanabe Kelly                               When was the debt incurred?
          2660 Peachtree Rd NW Apt 27G
          Atlanta, GA 30305-3680
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10
 0        Franz Rakusa                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Cole, Scott &Kissane PA,                            When was the debt incurred?
          9150 S Dadeland Blvd Ste 1400
          Miami, FL 33156-7855
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10
 1        Frederick Miles Chaleff, MD                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Frank Weinberg & Black PL,                          When was the debt incurred?
          1875 NW Corporate Blvd Ste 100
          Boca Raton, FL 33431-8550
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.10
 2        Freedom Health Inc.                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Michael Cooley,                                     When was the debt incurred?
          2501 N Harwood St Ste 1700
          Dallas, TX 75201-1663
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10
 3        Gabriel Perez                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o RPRSC, George Zinkler III,                          When was the debt incurred?
          101 NE 3rd Ave Ste 1800
          Fort Lauderdale, FL 33301-1252
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10
 4        Gabriel Perez & Frank Rakusa                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o CSK Legal, Cody German,                             When was the debt incurred?
          9150 S Dadeland Blvd Ste 1400
          Miami, FL 33156-7855
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.10
 5        Gemini Healthcare Fund, LLC                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10
 6        GEMRT CPA                                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2600 S Douglas Rd Ste 800
          Coral Gables, FL 33134-6149
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated

              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.10     Genesis Research International
 7        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9100 NW 36th St Ste 110
          Doral, FL 33178-2432
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.10
 8        George R. Levie CPA PA                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1792 Bell Tower Ln
          Weston, FL 33326-3682
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.10
 9        Gordon Systems                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          5310 Candlewick Ct
          Riverside, CA 92506-1520
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.11
 0        Gordon Systems                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          5310 Candlewick Ct
          Riverside, CA 92506-1520
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.11
 1        Gray Robinson Law Firm                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          301 E Pine St Ste 1400
          Orlando, FL 32801-2741
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.11     Great America Financial Services
 2        Corp                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 609
          Cedar Rapids, IA 52406-0609
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.11     Great America Financial Services
 3        Corp                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Peggy Upton,                                       When was the debt incurred?
          625 1st St SE Ste 800
          Cedar Rapids, IA 52401-2031
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.11     Great America Financial Services
 4        Corp                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2884 Sand Hill Rd Ste 200
          Menlo Park, CA 94025-7072
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.11
 5        Greenberg Traurig PA                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          200 Park Ave
          New York, NY 10166-0005
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.11
 6        Gustavo Camargo, MD                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Kissimmee Medical Specialties                       When was the debt incurred?
          PA,
          701 E Oak St Ste A
          Kissimmee, FL 34744-4575
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.11
 7        Halos Systems LLC                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7316 Delainey Ct
          Sarasota, FL 34240-8445
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.11
 8        Harvey Birdman                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1930 Harrison St # 5204
          Hollywood, FL 33020-7824
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.11
 9        HBST Enterprises, Inc.                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          637 Gazetta Way
          West Palm Beach, FL 33413-1055
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.12
 0        Healthexcel, Ltd.                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          20801 Biscayne Blvd Ste 456
          Miami, FL 33180-1430
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12
 1        Healthfusion                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3525 Piedmont Rd NE Bldg 6
          Atlanta, GA 30305-1578
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12
 2        Hilaire Louis Fernandes, MD                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Cardioligy Consultants of W.                        When was the debt incurred?
          Broward
          201 NW 82nd Ave Ste 405
          Plantation, FL 33324-1883
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.12
 3        Hines VAF II Doral, LP                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          499 Park Ave Fl 12
          New York, NY 10022-1240
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12
 4        HTA Camp Creek, LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          16435 N Scottsdale Rd Ste 320
          Scottsdale, AZ 85254-1694
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12
 5        Humana Care Plan                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Compbenefits Co.                                   When was the debt incurred?
          PO Box 531724
          Atlanta, GA 30353-1724
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.12
 6        Humana Inc. et al                                       Last 4 digits of account number                                                       $2,047.62
          Nonpriority Creditor's Name
          c/o Fox Swibel Levin & Carroll,                         When was the debt incurred?
          200 W Madison St Ste 3000
          Chicago, IL 60606-3417
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.12
 7        HYG LLC                                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o David Gay,                                          When was the debt incurred?
          100 SE 2nd St Ste 4200
          Miami, FL 33131-2113
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.12     Hygea Acquisitions Longwood,
 8        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.12
 9        Hygea Holdings Corp.                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 0        Hygea IGP of Central Florida, Inc.                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 1        Hygea IGP, LLC                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.13     Hygea Medical Centers of Florida,
 2        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 3        Hygea Medical Partners LLC                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 4        Hygea of Delaware, LLC                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.13
 5        Hygea of Georgia, LLC                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 6        Hygea of Pembroke Pines, LLC                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 7        Hygea Primum Acquisitions, Inc.                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.13
 8        Hygea South Florida Inc                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.13
 9        Ihealthcare, Inc                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          555 NE 15th St Fl 9
          Miami, FL 33132-1451
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 0        INPHYNET S. Broward, LLC                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3501 Johnson St
          Hollywood, FL 33021-5421
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.14     Integrated Healthcare Resources
 1        Ltd.                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          350 Jericho Tpke Ste 3
          Jericho, NY 11753-1317
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 2        International City Building LLC                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2627 NE 203rd St Ste 202
          Aventura, FL 33180-1946
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 3        IPFS Corporation                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 730223
          Dallas, TX 75373-0223
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.14     IT Professional Business Solutions
 4        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8787 NW 180th Ter
          Hialeah, FL 33018-6502
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 5        Ivette Cardona Ruelle                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7824 Lake Underhill Rd Ste B
          Orlando, FL 32822-8201
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 6        J.L. Quality Companies of Florida                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 2437
          Goldenrod, FL 32733-2437
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.14
 7        Jack Mann                                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          27 Birchwood Ln
          Kings Point, NY 11024-1718
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 8        Jaime Costa                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1521 Alton Rd Apt 214
          Miami Beach, FL 33139-3301
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.14
 9        Jerry Neugebaur                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 326
          Barker, TX 77413-0326
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.15
 0        Joe Campanella                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          11346 Bedford Commons Dr Unit
          101
          Las Vegas, NV 89135-3310
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15
 1        Joel Matthew Jancko, MD                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Cardiology Consultants of West                          When was the debt incurred?
          Broward
          201 NW 82nd Ave Ste 405
          Plantation, FL 33324-1883
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15
 2        John Lindsay                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3554 Bournemouth Ct
          San Jose, CA 95136-1401
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.15
 3        John Vincent Williams, MD                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          10081 Pines Blvd
          Pembroke Pines, FL 33024-6184
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15
 4        Jose Alejandro Ruiz Polo                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1191 Sorrento Dr
          Weston, FL 33326-4553
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15
 5        Joseph Larue Richter MD                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2007 W Reynolds St
          Plant City, FL 33563-4743
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.15
 6        Juan Arteaga                                            Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9959 Pines Blvd
          Pembroke Pines, FL 33024-6177
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15
 7        Kaempfer Crowell Ltd.                                   Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1980 Festival Plaza Dr Ste 900
          Las Vegas, NV 89135-2958
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.15
 8        Kaplan Cottner                                          Last 4 digits of account number                                                       $20,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          10091 Park Run Dr Ste 190
          Las Vegas, NV 89145-8868
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.15
 9        Katalyst FP LLP                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Jaspan Schlesinger LLP,                             When was the debt incurred?
          300 Garden City Plz Fl 5
          Garden City, NY 11530-3333
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 0        Kathy Gingrich Lubbers                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          200 Ocean Lane Dr Apt 1108
          Key Biscayne, FL 33149-1420
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 1        Kelly Law Firm PC                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6075 Barfield Rd
          Sandy Springs, GA 30328-4402
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.16
 2        Kroll Discovery                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8201 Greensboro Dr Ste 717
          McLean, VA 22102-3818
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 3        Kyrenia Sanchez                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 NW 168th St Ste 301
          North Miami Beach, FL 33169-6051
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 4        Lawrence R. Klar, Jr                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2836 Foxtail Creek Ave
          Henderson, NV 89052-7107
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.16
 5        Leistner Group LLC                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          Att: J. DePuy, Rue Du College 16,
          Sotten
          Switzerland
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 6        Lifestyle Marine                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7601 E Treasure Dr
          North Bay Village, FL 33141-4391
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 7        Louis A. Biasi                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          601 N Congress Ave Ste 113
          Delray Beach, FL 33445-4626
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.16
 8        Lucia Beltre                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          15231 SW 146th Ave
          Miami, FL 33177-6821
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.16
 9        Magalie Samson                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8393 W Oakland Park Blvd
          City of Sunrise, FL 33351-7307
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.17     Manasota Medical Management
 0        Consultants                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          4908 64th Dr W
          Bradenton, FL 34210-4051
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.17
 1        Manuel E. Iglesias                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          14811 NW 89th Ave
          Miami Lakes, FL 33018-8012
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17
 2        Manuel E. Iglesias, P.A.                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2600 S Douglas Rd Ste 800
          Coral Gables, FL 33134-6149
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17
 3        Marc Sussman, CPA                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          12740 Countryside Ter
          Cooper City, FL 33330-2739
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.17
 4        Mario Medina                                            Last 4 digits of account number                                                       $47,800.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          95 Merrick Way Ste 514
          Coral Gables, FL 33134-5310
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17
 5        Marko & Magolnick PA                                    Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3001 SW 3rd Ave
          Miami, FL 33129-2709
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17
 6        Martha Castillo                                         Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          10801 SW 123rd St
          Miami, FL 33176-4634
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.17
 7        MDM Worldwide Solutions                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          264 W 40th St Rm 604
          New York, NY 10018-1858
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17
 8        Med Plan Clinic LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          18 Lafayette Pl
          Woodmere, NY 11598-2138
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.17
 9        Med Plan Quality Care Centers LLC                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          18 Lafayette Pl
          Woodmere, NY 11598-2138
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.18     Medical Arts Pharmacy of Sarasota
 0        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          4417 Bee Ridge Rd
          Sarasota, FL 34233-2514
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.18     Medical Center of Winston Towers,
 1        Inc.                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.18
 2        Medical Services LLC                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3120 W 84th St Unit 2
          Hialeah, FL 33018-4905
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.18
 3        Medlife Activity Center, LLC                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.18
 4        Medsol Partners LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3501 N Ocean Dr Ste 4
          Hollywood, FL 33019-3813
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.18
 5        Medtronic Inc                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          SLK                                                     When was the debt incurred?
          800 53rd Ave NE
          Minneapolis, MN 55421-1241
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Medical Debt




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 4.18
 6        Mega Holdings, Inc.                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          19355 Turnberry Way Apt 16L
          Aventura, FL 33180-2534
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.18
 7        Merz North America Inc.                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6501 Six Forks Rd
          Raleigh, NC 27615-6515
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.18
 8        MEV Studios                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          100 S Biscayne Blvd Ste 300
          Miami, FL 33131-2037
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.18
 9        Miami Security Systems                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 832272
          Miami, FL 33283-2272
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 0        Michael E. Horowitz, MD                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          10175 Collins Ave Apt 1203
          Bal Harbour, FL 33154-1640
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 1        Microsoft                                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 842103
          Dallas, TX 75284-2103
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.19
 2        Mid Florida Adult Medicine LLC                          Last 4 digits of account number                                                           unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 3        Miguel Burgos, MD                                       Last 4 digits of account number                                                       $1,099,681.28
          Nonpriority Creditor's Name
          c/o Thomas C. Allison, Esquire                          When was the debt incurred?
          180 N Park Ave Ste 2A
          Winter Park, FL 32789-7401
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 4        Mike Segal                                              Last 4 digits of account number                                                           unknown
          Nonpriority Creditor's Name
          Nelson Mullins                                          When was the debt incurred?
          2 S Biscayne Blvd Ste 21
          Miami, FL 33131-1800
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.19
 5        Milner, Inc.                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 923197
          Norcross, GA 30010-3197
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 6        Miriam Zapata                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          595 Oak Commons Blvd Ste A
          Kissimmee, FL 34741-4211
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 7        MNP, LLP                                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          330 5th Avenue SW, Suite 2000,
          Calgary,
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.19
 8        Mobile Clinic Services, LLC                             Last 4 digits of account number                                                         unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Fort Lauderdale, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.19
 9        Moveo Technologies Corporation                          Last 4 digits of account number                                                       $118,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          95 Merrick Way Ste 514
          Coral Gables, FL 33134-5310
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated

              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.20
 0        Moveo, LLC                                              Last 4 digits of account number                                                       $268,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1200 Anastasia Ave Ste 225
          Coral Gables, FL 33134-6364
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated

              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.20
 1        MSP Recovery LLC                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2701 S Le Jeune Rd
          Coral Gables, FL 33134-5809
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.20
 2        N5HYG, LLC                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o David Gay,                                          When was the debt incurred?
          100 SE 2nd St Ste 4200
          Miami, FL 33131-2113
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.20
 3        Natasha Williamson                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          770 Greison Trl
          Newnan, GA 30263-6408
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.20
 4        National Healthcare Brokers                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          12727 SW 116th St
          Miami, FL 33186-4606
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.20     Nelson Mullins Riley &
 5        Scarborough                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2 S Biscayne Blvd Ste 2100
          Miami, FL 33131-1811
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.20     Neptune Beach Practice
 6        Management                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Diana Kelley,                                      When was the debt incurred?
          9787 Sawgrass Dr E
          Ponte Vedra Beach, FL 32082-3533
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.20
 7        Nevada 5, Inc.                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o David Gay,                                          When was the debt incurred?
          100 SE 2nd St Ste 4200
          Miami, FL 33131-2113
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.20
 8        Nextgen Healthcare Inc.                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 809390
          Chicago, IL 60680-9390
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.20
 9        Norcal Mutual Insurance Company                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8511 S Sam Houston Pkwy E Ste
          200
          Houston, TX 77075-4874
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.21
 0        Norman Gaylis MD, PA                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          179 Ocean Blvd
          Golden Beach, FL 33160-2208
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21
 1        Norman Roder                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          302 Ridge Trail Dr
          Chesterfield, MO 63017-3029
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21
 2        Orellano, LLC                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6224 Ashfield Pl
          Wesley Chapel, FL 33545-4362
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.21
 3        Orlando Benitez, MD                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          280 Wekiva Springs Rd Ste 1000
          Longwood, FL 32779-6098
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21
 4        Pablo Urbandt MD                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Cardiology Consultants of West                          When was the debt incurred?
          Broward
          201 NW 82nd Ave Ste 405
          Plantation, FL 33324-1883
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21
 5        Palm A. C. MSO, LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.21
 6        Palm Allcare Medicaid MSO, LLC                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21
 7        Palm Allcare MSO, Inc.                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.21
 8        Palm Medical Network, LLC                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8700 W Flagler St Ste 280
          Miami, FL 33174-2648
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.21
 9        Palm MSO System, Inc.                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 0        Palm PGA MSO, LLC                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 1        Palm Square Center, LLC                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          701 Brickell Ave Ste 2040
          Miami, FL 33131-2834
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.22
 2        Palma Ceia Storage, Inc.                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          520 S Macdill Ave
          Tampa, FL 33609-3039
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 3        Palmetto 103 Properties, LLC                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9808 NW 80th Ave Unit 10A
          Hialeah Gardens, FL 33016-2326
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 4        Pamela Reusch                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Melissa Hussey, Esquire                             When was the debt incurred?
          12955 Fennway Ridge Dr
          Riverview, FL 33579-7181
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.22
 5        Patagonia Global Trading LLC                            Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
          c/o David Zirulnikoff                                   When was the debt incurred?
          19355 Turnberry Way Apt 16L
          Aventura, FL 33180-2534
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 6        Patricia Martindale, MD PA                              Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 7        Patricia Weldon                                         Last 4 digits of account number                                                       $75,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          13428 Maxella Ave Ste 415
          Marina del Rey, CA 90292-5620
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.22
 8        PEBB Enterprises LLC                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7900 Glades Rd Ste 600
          Boca Raton, FL 33434-4105
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.22
 9        Pedrianes Holdings, LLC                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6764 NW 182nd St Apt 104
          Hialeah, FL 33015-7942
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.23
 0        Pedro Pedrianes                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6764 NW 182nd St Apt 104
          Hialeah, FL 33015-7942
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.23
 1        Perez & Rodriguez, PA                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          95 Merrick Way Ste 600
          Coral Gables, FL 33134-5306
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.23
 2        Perfectserve, Inc.                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 841200
          Dallas, TX 75284-1200
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.23
 3        Pfizer                                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/oStephen B. Gebeloff, Esq.                            When was the debt incurred?
          6971 N Federal Hwy Ste 300
          Boca Raton, FL 33487-1649
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.23
 4        Physician Hospital Alliance                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          10050 Innovation Dr Ste 240
          Miamisburg, OH 45342-4935
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.23     Physician Management Associates
 5        SE, LLC                                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.23     Physicians Care Centers of Alanta,
 6        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.23     Physicians Care Centers of
 7        Kissimmee LLC                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.23     Physicians Practice Management
 8        Assoc.                                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          350 Jericho Tpke Ste 3LL
          Jericho, NY 11753-1351
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.23     Pie in the Sky Promotional
 9        Products                                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3191 SW 173rd Ter
          Miramar, FL 33029-5580
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.24
 0        Pitney Bowes, Inc.                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 371896
          Pittsburgh, PA 15250-7896
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.24
 1        Podhurst Orseck, PA                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1 SE 3rd Ave Ste 2300
          Miami, FL 33131-1716
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.24
 2        Premier South Medical Group, PC                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.24
 3        Primum Healthcare, LLC                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.24
 4        Priority Healthcare Distribution Inc.                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Holland & Knight LLP,                               When was the debt incurred?
          31 W 52nd St Fl 12
          New York, NY 10019-6118
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.24
 5        Professional Health Choice, Inc.                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.24
 6        Provider Vision                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          5310 Candlewick Ct
          Riverside, CA 92506-1520
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.24
 7        Public Storage                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          155 S Goldenrod Rd
          Orlando, FL 32807-8215
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.24     Pure Water Technology of Georgia,
 8        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1650 Oakbrook Dr Ste 480
          Norcross, GA 30093-1820
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.24
 9        Quest Diagnostics                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 530440
          Atlanta, GA 30353-0440
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 0        Quill Corportion                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 37600
          Philadelphia, PA 19101-0600
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 1        Radey Law Firm                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          301 S Bronough St Ste 200
          Tallahassee, FL 32301-1722
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.25
 2        Radey Thomas Yon & Clark PA                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          301 S Bronough St Ste 200
          Tallahassee, FL 32301-1722
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 3        Raul Tamayo                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Thomas C. Allison, Esquire                          When was the debt incurred?
          180 N Park Ave Ste 2A
          Winter Park, FL 32789-7401
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 4        Ray Gonzalez                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2766 NW 62nd St
          Miami, FL 33147-7662
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.25
 5        Rene Gonzalez                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2766 NW 62nd St # Treet
          Miami, FL 33147-7662
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 6        Reyes & Reyes MD, PA                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Groelle & Salmon PA,                                When was the debt incurred?
          1715 N West Shore Blvd Ste 320
          Tampa, FL 33607-3931
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 7        Reyes & Reyes MD, PA                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          3700 Washington St # SUITE404
          Hollywood, FL 33021-8256
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.25
 8        RH Management Resources                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1650 Oakbrook Dr Ste 480
          Norcross, GA 30093-1820
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.25
 9        Ricoh USA Inc.                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          70 Valley Stream Pkwy
          Malvern, PA 19355-1407
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 0        Robert Half International Inc.                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          2884 Sand Hill Rd Ste 200
          Menlo Park, CA 94025-7072
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.26
 1        Robert Mehl                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          554 Badger Trl N
          Ridgway, CO 81432-9616
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 2        Robert Montes                                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          10201 SW 129th St
          Miami, FL 33176-5641
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 3        Rodolfo Rodriguez                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9250 NW 36th St Ste 420
          Miami, FL 33178-2775
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.26
 4        RREEF America LLC                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Holland & Knight LLP,                               When was the debt incurred?
          515 E Las Olas Blvd Ste 1200
          Fort Lauderdale, FL 33301-4249
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 5        RREF III-P Doral Office, LP                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Holland & Knight LLP, Joaqin                        When was the debt incurred?
          Alemany
          701 Brickell Ave Ste 3300
          Miami, FL 33131-2847
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 6        Rufus Joseph                                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1600 N State Road 7
          Lauderhill, FL 33313-5853
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.26
 7        Shady Salib, MD                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o M. Seese PA                                         When was the debt incurred?
          101 NE 3rd Ave Ste 1270
          Fort Lauderdale, FL 33301-1111
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 8        Sheldon Staller MD                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          221 SW 101st Ave
          Fort Lauderdale, FL 33324-2256
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.26
 9        SHRED-IT                                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          28883 Network Pl
          Chicago, IL 60673-1288
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.27
 0        Simply Healthcare Plans Inc.                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Michael Cooley,                                     When was the debt incurred?
          2501 N Harwood St Ste 1700
          Dallas, TX 75201-1663
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify



 4.27     Solomon & Solomon Medical
 1        Clinic, LLC                                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.27
 2        South Florida Pulmonary Care Inc.                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Ernesto Padron,                                     When was the debt incurred?
          5733 NW 151st St
          Miami Lakes, FL 33014-2481
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.27     Spectrum Business DBA Bright
 3        House Ntwk                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 7195
          Pasadena, CA 91109-7195
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.27
 4        Sprint Wireless                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          6200 Sprint Pkwy
          Overland Park, KS 66251-6117
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.27
 5        Staff Care, Inc.                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8840 Cypress Waters Blvd Ste 300
          Coppell, TX 75019-4630
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.27
 6        Stanton Keith Collins                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          20801 Biscayne Blvd Ste 456
          Aventura, FL 33180-1430
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.27
 7        Staples Business Advantage                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Dept. ATL,                                              When was the debt incurred?
          PO Box 405386
          Atlanta, GA 30384-5386
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.27
 8        Staples Business Advantage                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7 Technology Cir
          Columbia, SC 29203-9591
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.27
 9        Stericycle, Inc.                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Billing Dept.                                           When was the debt incurred?
          PO Box 6582
          Carol Stream, IL 60197-6582
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 0        Steven Feldman, MD                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7351 W Oakland Park Blvd
          Lauderhill, FL 33319-7107
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 1        Stoll Keenon Ogden PLLC                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          500 W Jefferson St Ste 2000
          Louisville, KY 40202-2828
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.28     Strategic Management Services,
 2        LLC                                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          5911 Kingstowne Village Pkwy Ste
          300
          Alexandria, VA 22315-4647
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 3        Sunmed Health Center Inc.                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 4        Sussman Staller, MD PA                                  Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          150 S Pine Island Rd Ste 200
          Plantation, FL 33324-2695
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.28
 5        Tabas & Soloff, PA                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          25 SE 2nd Ave Ste 248
          Miami, FL 33131-1508
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 6        Taylors Pharmacy                                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Mary Maxwell,                                      When was the debt incurred?
          306 S Park Ave
          Winter Park, FL 32789-4318
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 7        The Weinbach Group                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          7301 SW 57th Ct Ste 550
          Miami, FL 33143-5334
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.28
 8        Torys LLP                                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1114 Avenue of the Americas Fl 23
          New York, NY 10036-7703
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.28
 9        UHMC                                                    Last 4 digits of account number                                                       $7,500.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1400 NW 12th Ave
          Miami, FL 33136-1003
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.29
 0        United Healthcare Insurance Co.                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          UHS Premium Billing,                                    When was the debt incurred?
          PO Box 94017
          Palatine, IL 60094-4017
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.29
 1        United Healthcare Insurance Co.                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: CDM/Bankruptcy,                                    When was the debt incurred?
          185 Asylum St # 3B
          Hartford, CT 06103-3408
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.29
 2        United Medical Industries Corp.                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8603 NW 66th St
          Miami, FL 33166-2670
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.29
 3        United Medical Ventures, LLC                            Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          404 E Oakland Park Blvd
          Wilton Manors, FL 33334-2150
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.29
 4        University of California                                Last 4 digits of account number                                                       $3,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1000 W Carson St Bldg 3
          Torrance, CA 90502-2004
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Medical Bill


 4.29
 5        University of Miami                                     Last 4 digits of account number                                                       $4,000.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1400 NW 12th Ave
          Miami, FL 33136-1003
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify   Medical Bill


 4.29     Unum Life Insurance Company of
 6        America                                                 Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 409548
          Atlanta, GA 30384-9548
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.29
 7        US Health Exchange                                      Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9100 NW 36th St Ste 110
          Doral, FL 33178-2432
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.29
 8        USCB America                                            Last 4 digits of account number                                                       $3,129.47
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          355 S Grand Ave Ste 3200
          Los Angeles, CA 90071-1591
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.29
 9        Vanessa Victorero                                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9250 NW 36th St Ste 420
          Miami, FL 33178-2775
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.30
 0        Ver Ploeg & Marino PA                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9100 NW 36th St Ste 110
          Doral, FL 33178-2432
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.30
 1        Ver Ploeg & Marino PA                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          9100 NW 36th St Ste 110
          Doral, FL 33178-2432
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.30
 2        Ver Ploeg & Marino PA                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          100 SE 2nd St Fl 30
          Miami, FL 33131-2194
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.30
 3        Vitalgenix Health & Wellness LLC                        Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Thomas Allison, Esq.                                When was the debt incurred?
          180 N Park Ave Ste 2A
          Winter Park, FL 32789-7401
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.30
 4        VRG Portfolio Holdings LLC                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Jerry Switzer Jr,                                   When was the debt incurred?
          150 N Riverside Plz Ste 3000
          Chicago, IL 60606-1599
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.30
 5        Vstock Transfer LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          18 Lafayette Pl
          Woodmere, NY 11598-2138
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.30
 6        W.B. Mason Co. Inc.                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 981101
          Boston, MA 02298-1101
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.30
 7        WeirFoulds LLP                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          4100-66 Wellington St. W. POB 35
          Toronto Canada M5K 1-B7
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.30
 8        Wellcare of Florida Inc.                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o McGuire Woods LLP,                                  When was the debt incurred?
          77 W Wacker Dr Ste 4100
          Chicago, IL 60601-1683
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.30     Wellstar Atlanta Medical Center,
 9        Inc.                                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Meadows & Ohly, LLC,                                When was the debt incurred?
          275 Scientific Dr Ste 1000
          Peachtree Corners, GA 30092-3311
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.31
 0        Wesoloski Carlson PA                                    Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Att: Erik Wesoloski, Esq.                               When was the debt incurred?
          848 Brickell Ave Ste 302
          Miami, FL 33131-2915
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify


 4.31
 1        William Steele                                          Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          251 NW 23rd St
          Miami, FL 33127-4315
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                    Other. Specify




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 4.31
 2         William Steele Holdings LLC                             Last 4 digits of account number                                                               unknown
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           251 NW 23rd St
           Miami, FL 33127-4315
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.31
 3         Withum, Smith & Brown PC                                Last 4 digits of account number                                                               unknown
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           200 S Orange Ave Ste 1200
           Orlando, FL 32801-3446
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Miller Law Firm                                             Line 4.202 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 950 W University Dr Ste 300                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Rochester, MI 48307-1887
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                  200,000.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                4,626,145.03
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                4,826,145.03


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                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.     $                 16,000.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.     $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.     $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                            $              4,867,342.46

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.     $              4,883,342.46




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              Fill in this information to identify your case:

 Debtor 1                 Edward Kane Moffly, Jr.
                          First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.2
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.3
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.4
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.5
           Name


           Number       Street

           City                                     State                  ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   Edward Kane Moffly, Jr.
                            First Name                           Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name            Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number            22-15156-AJC
 (if known)                                                                                                                        Check if this is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:


    3.1         Hygea Holdings                                                                           Schedule D, line
                                                                                                         Schedule E/F, line      4.1
                                                                                                         Schedule G
                                                                                                       2209021 Ontario Inc.



    3.2         Hygea Holdings                                                                           Schedule D, line
                                                                                                         Schedule E/F, line      4.3
                                                                                                         Schedule G
                                                                                                       Accountemps



    3.3         Hygea Holdings                                                                           Schedule D, line
                                                                                                         Schedule E/F, line  4.4
                                                                                                         Schedule G
                                                                                                       Adaptive Healthcare Solutions LLC




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                                                                                     Check all schedules that apply:
    3.4      Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.5
                                                                                       Schedule G
                                                                                     Adler Office Associates, LLC



    3.5      Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.6
                                                                                       Schedule G
                                                                                     ADT Security Services Inc.



    3.6      Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.7
                                                                                       Schedule G
                                                                                     Advisory Trust Group as Trustee Hygea



    3.7      Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.9
                                                                                       Schedule G
                                                                                     Aetna Inc.



    3.8      Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.10
                                                                                       Schedule G
                                                                                     AFLAC



    3.9      Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.11
                                                                                       Schedule G
                                                                                     Akerman, LLP



    3.10     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.12
                                                                                       Schedule G
                                                                                     Alan M. Schwartz



    3.11     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.13
                                                                                       Schedule G
                                                                                     Alberto Marrero Arias




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                                                                                     Check all schedules that apply:
    3.12     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.14
                                                                                       Schedule G
                                                                                     Aldrich Cardiovascular Institute



    3.13     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.16
                                                                                       Schedule G
                                                                                     Alexander Tirado



    3.14     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.17
                                                                                        Schedule G
                                                                                     All Care Management Services, Inc.



    3.15     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line   4.18
                                                                                        Schedule G
                                                                                     Allertech Laboratories Inc.



    3.16     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  4.19
                                                                                        Schedule G
                                                                                     Alleus Health Ltd. DBA Alleus Health



    3.17     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line 4.20
                                                                                       Schedule G
                                                                                     Amir and Faye Fahmy



    3.18     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.21
                                                                                       Schedule G
                                                                                     Amir Fahmy MD, PA



    3.19     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line 4.22
                                                                                       Schedule G
                                                                                     AmTrust North America Inc. OBO Technolog




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                                                                                     Check all schedules that apply:
    3.20     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.23
                                                                                       Schedule G
                                                                                     Anda, Inc.



    3.21     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.24
                                                                                       Schedule G
                                                                                     Anda, Inc.



    3.22     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.25
                                                                                       Schedule G
                                                                                     Archive America Limited



    3.23     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.27
                                                                                       Schedule G
                                                                                     Arlene E. Richards, MD PA



    3.24     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.28
                                                                                       Schedule G
                                                                                     Arthur J. Gallagher Risk Management Svcs



    3.25     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.29
                                                                                       Schedule G
                                                                                     AT&T



    3.26     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.30
                                                                                       Schedule G
                                                                                     Ballard Spahr LLP



    3.27     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.31
                                                                                       Schedule G
                                                                                     Ballard Spahr LLP




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                                                                                     Check all schedules that apply:
    3.28     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.32
                                                                                       Schedule G
                                                                                     Barry Smith MD, PC



    3.29     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.33
                                                                                       Schedule G
                                                                                     Beedie Investments Ltd.



    3.30     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line 4.34
                                                                                       Schedule G
                                                                                     Biomed Medical Compliance



    3.31     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.35
                                                                                       Schedule G
                                                                                     Blalock & Walters, PA



    3.32     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.36
                                                                                       Schedule G
                                                                                     Bridging Finance Inc.



    3.33     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.37
                                                                                       Schedule G
                                                                                     Brinks Home Security



    3.34     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.38
                                                                                       Schedule G
                                                                                     Broad & Cassell



    3.35     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.39
                                                                                       Schedule G
                                                                                     Bruce Romanello




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                                                                                     Check all schedules that apply:
    3.36     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.40
                                                                                       Schedule G
                                                                                     Capital City Consulting, LLC



    3.37     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line    4.41
                                                                                       Schedule G
                                                                                     Capital Office Products



    3.38     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.42
                                                                                       Schedule G
                                                                                     Cardinal Health 414 LLC



    3.39     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.43
                                                                                       Schedule G
                                                                                     Cardiology Consultants of W. Broward PA



    3.40     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.44
                                                                                       Schedule G
                                                                                     Carl Rosenkratz, MD



    3.41     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.45
                                                                                       Schedule G
                                                                                     CEA Atlantic Advisors, LLC



    3.42     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.46
                                                                                       Schedule G
                                                                                     Centurion Financial Trust



    3.43     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.47
                                                                                       Schedule G
                                                                                     Chaker Dahan, MD




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                                                                                     Check all schedules that apply:
    3.44     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.48
                                                                                       Schedule G
                                                                                     Change Healthcare



    3.45     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.49
                                                                                       Schedule G
                                                                                     Chrysler Capital



    3.46     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.51
                                                                                       Schedule G
                                                                                     Claudia Pena



    3.47     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.52
                                                                                       Schedule G
                                                                                     Claudio F. Arellano



    3.48     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.53
                                                                                       Schedule G
                                                                                     Clear Capital Advisors LLC



    3.49     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  4.54
                                                                                        Schedule G
                                                                                     Clifton Larson Allen LLP



    3.50     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  4.55
                                                                                        Schedule G
                                                                                     Clifton Larson Allen LLP



    3.51     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.56
                                                                                       Schedule G
                                                                                     Coffey Burlington, PL




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                                                                                     Check all schedules that apply:
    3.52     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.57
                                                                                       Schedule G
                                                                                     Comcast



    3.53     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.58
                                                                                       Schedule G
                                                                                     Cormack Securities Ltd.



    3.54     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line    4.59
                                                                                       Schedule G
                                                                                     Coverall of South Florida, Inc.



    3.55     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.60
                                                                                        Schedule G
                                                                                     Ct Solutions, Inc.



    3.56     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.61
                                                                                       Schedule G
                                                                                     Cypress Real Estate Investments LLC



    3.57     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.62
                                                                                       Schedule G
                                                                                     Dan K. Miller



    3.58     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.63
                                                                                       Schedule G
                                                                                     Daniel T. McGowan



    3.59     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.64
                                                                                       Schedule G
                                                                                     David Hernandez




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                                                                                     Check all schedules that apply:
    3.60     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.65
                                                                                       Schedule G
                                                                                     David Zirulnikoff



    3.61     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line 4.66
                                                                                       Schedule G
                                                                                     De Lage Landen Financial Services



    3.62     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.67
                                                                                       Schedule G
                                                                                     Denarii Systems



    3.63     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.68
                                                                                       Schedule G
                                                                                     Denis Kleinfeld



    3.64     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.69
                                                                                       Schedule G
                                                                                     DLL Group



    3.65     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line 4.70
                                                                                       Schedule G
                                                                                     Dorsey & Whitney LLP



    3.66     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line   4.71
                                                                                       Schedule G
                                                                                     Dr. Irwin & Valerie Solomon



    3.67     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.72
                                                                                       Schedule G
                                                                                     Dr. Valerie Solomon




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                                                                                     Check all schedules that apply:
    3.68     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.73
                                                                                       Schedule G
                                                                                     Dubbin & Kravetz, LLP



    3.69     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.74
                                                                                       Schedule G
                                                                                     Eclinicalworks, LLC



    3.70     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.75
                                                                                       Schedule G
                                                                                     Electromed Solutions, LLC



    3.71     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line   4.76
                                                                                        Schedule G
                                                                                     Elite Recreational Finance



    3.72     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.77
                                                                                       Schedule G
                                                                                     Enrique Cadena



    3.73     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.78
                                                                                       Schedule G
                                                                                     Epifania Colon Burgos



    3.74     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.79
                                                                                        Schedule G
                                                                                     Erica R. Williams



    3.75     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.80
                                                                                       Schedule G
                                                                                     Ernesto Izquierdo




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                                                                                     Check all schedules that apply:
    3.76     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.82
                                                                                       Schedule G
                                                                                     Estate of Charles Lee Baston



    3.77     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line 4.83
                                                                                       Schedule G
                                                                                     Estate of Howard Sussman, MD



    3.78     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.85
                                                                                       Schedule G
                                                                                     Ewal B. Persaud Jr.



    3.79     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line  4.86
                                                                                       Schedule G
                                                                                     Ewaul Barrington Persuad



    3.80     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.87
                                                                                        Schedule G
                                                                                     Fifth Third Bank



    3.81     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line   4.88
                                                                                        Schedule G
                                                                                     Financial Pacific Leasing Inc.



    3.82     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  4.89
                                                                                        Schedule G
                                                                                     First Harbour Health Management LLC



    3.83     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  4.90
                                                                                        Schedule G
                                                                                     First Harbour Medical Centers, LLC




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                                                                                     Check all schedules that apply:
    3.84     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.91
                                                                                        Schedule G
                                                                                     First Insurance Funding Corp.



    3.85     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.92
                                                                                        Schedule G
                                                                                     Fischer Family Trust



    3.86     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.93
                                                                                        Schedule G
                                                                                     Fleming PLLC



    3.87     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line     4.94
                                                                                        Schedule G
                                                                                     Florida Blue



    3.88     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  2.1
                                                                                        Schedule G
                                                                                     Florida Department of Financial Services



    3.89     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  2.2
                                                                                        Schedule G
                                                                                     Florida Department of Revenue



    3.90     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line 4.95
                                                                                        Schedule G
                                                                                     Florida Group Healthcare, LLC



    3.91     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line  4.96
                                                                                        Schedule G
                                                                                     Florida Hospital Physician Network, LLC




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                                                                                     Check all schedules that apply:
    3.92     Hygea Holdings                                                             Schedule D, line
                                                                                        Schedule E/F, line    4.97
                                                                                        Schedule G
                                                                                     Florida Institute of Health, Ltd. LLLP



    3.93     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.98
                                                                                       Schedule G
                                                                                     FPL



    3.94     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.99
                                                                                       Schedule G
                                                                                     Francis Kelly



    3.95     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.100
                                                                                       Schedule G
                                                                                     Franz Rakusa



    3.96     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.101
                                                                                       Schedule G
                                                                                     Frederick Miles Chaleff, MD



    3.97     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.102
                                                                                       Schedule G
                                                                                     Freedom Health Inc.



    3.98     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line      4.103
                                                                                       Schedule G
                                                                                     Gabriel Perez



    3.99     Hygea Holdings                                                            Schedule D, line
                                                                                       Schedule E/F, line   4.104
                                                                                       Schedule G
                                                                                     Gabriel Perez & Frank Rakusa




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                                                                                     Check all schedules that apply:
    3.10     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line 4.105
                                                                                       Schedule G
                                                                                     Gemini Healthcare Fund, LLC



    3.10     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line  4.107
                                                                                       Schedule G
                                                                                     Genesis Research International LLC



    3.10     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line 4.108
                                                                                       Schedule G
                                                                                     George R. Levie CPA PA



    3.10     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line  2.3
                                                                                       Schedule G
                                                                                     Georgia Department of Revenue



    3.10     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line  2.4
                                                                                       Schedule G
                                                                                     Georgia Department of Revenue



    3.10     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.109
                                                                                       Schedule G
                                                                                     Gordon Systems



    3.10     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.110
                                                                                       Schedule G
                                                                                     Gordon Systems



    3.10     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line 4.111
                                                                                       Schedule G
                                                                                     Gray Robinson Law Firm




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                                                                                     Check all schedules that apply:
    3.10     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line  4.112
                                                                                       Schedule G
                                                                                     Great America Financial Services Corp



    3.10     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line  4.113
                                                                                       Schedule G
                                                                                     Great America Financial Services Corp



    3.11     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line  4.114
                                                                                       Schedule G
                                                                                     Great America Financial Services Corp



    3.11     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line 4.115
                                                                                       Schedule G
                                                                                     Greenberg Traurig PA



    3.11     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line 4.116
                                                                                       Schedule G
                                                                                     Gustavo Camargo, MD



    3.11     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.117
                                                                                       Schedule G
                                                                                     Halos Systems LLC



    3.11     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.118
                                                                                       Schedule G
                                                                                     Harvey Birdman



    3.11     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line   4.119
                                                                                       Schedule G
                                                                                     HBST Enterprises, Inc.




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.11     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.120
                                                                                       Schedule G
                                                                                     Healthexcel, Ltd.



    3.11     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.121
                                                                                       Schedule G
                                                                                     Healthfusion



    3.11     Hygea Holdings                                                             Schedule D, line
    8                                                                                   Schedule E/F, line  4.122
                                                                                        Schedule G
                                                                                     Hilaire Louis Fernandes, MD



    3.11     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line   4.123
                                                                                       Schedule G
                                                                                     Hines VAF II Doral, LP



    3.12     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line 4.124
                                                                                       Schedule G
                                                                                     HTA Camp Creek, LLC



    3.12     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.125
                                                                                       Schedule G
                                                                                     Humana Care Plan



    3.12     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.126
                                                                                       Schedule G
                                                                                     Humana Inc. et al



    3.12     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.127
                                                                                       Schedule G
                                                                                     HYG LLC




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                                                                                     Check all schedules that apply:
    3.12     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line 4.128
                                                                                       Schedule G
                                                                                     Hygea Acquisitions Longwood, LLC



    3.12     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line 4.129
                                                                                       Schedule G
                                                                                     Hygea Holdings Corp.



    3.12     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line   4.130
                                                                                       Schedule G
                                                                                     Hygea IGP of Central Florida, Inc.



    3.12     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.131
                                                                                       Schedule G
                                                                                     Hygea IGP, LLC



    3.12     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line 4.132
                                                                                       Schedule G
                                                                                     Hygea Medical Centers of Florida, LLC



    3.12     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line  4.133
                                                                                       Schedule G
                                                                                     Hygea Medical Partners LLC



    3.13     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line  4.134
                                                                                       Schedule G
                                                                                     Hygea of Delaware, LLC



    3.13     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line  4.135
                                                                                       Schedule G
                                                                                     Hygea of Georgia, LLC




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.13     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line 4.136
                                                                                       Schedule G
                                                                                     Hygea of Pembroke Pines, LLC



    3.13     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line 4.137
                                                                                       Schedule G
                                                                                     Hygea Primum Acquisitions, Inc.



    3.13     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line  4.138
                                                                                       Schedule G
                                                                                     Hygea South Florida Inc



    3.13     Hygea Holdings                                                             Schedule D, line
    5                                                                                   Schedule E/F, line     4.139
                                                                                        Schedule G
                                                                                     Ihealthcare, Inc



    3.13     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line 4.140
                                                                                       Schedule G
                                                                                     INPHYNET S. Broward, LLC



    3.13     Hygea Holdings                                                             Schedule D, line
    7                                                                                   Schedule E/F, line  4.141
                                                                                        Schedule G
                                                                                     Integrated Healthcare Resources Ltd.



    3.13     Hygea Holdings                                                             Schedule D, line
    8                                                                                   Schedule E/F, line   4.142
                                                                                        Schedule G
                                                                                     International City Building LLC



    3.13     Hygea Holdings                                                             Schedule D, line
    9                                                                                   Schedule E/F, line     4.143
                                                                                       Schedule G
                                                                                     IPFS Corporation




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.14     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      2.5
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      2.6
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      2.7
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      2.8
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      2.9
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      2.10
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      2.11
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      2.12
                                                                                       Schedule G
                                                                                     IRS




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.14     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      2.13
                                                                                       Schedule G
                                                                                     IRS



    3.14     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      2.14
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      2.15
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      2.16
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      2.17
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      2.18
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      2.19
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      2.20
                                                                                       Schedule G
                                                                                     IRS




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.15     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      2.21
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      2.22
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      2.23
                                                                                       Schedule G
                                                                                     IRS



    3.15     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      2.24
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      2.25
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      2.26
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      2.27
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      2.28
                                                                                       Schedule G
                                                                                     IRS




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                                                                                     Check all schedules that apply:
    3.16     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      2.29
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      2.30
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      2.31
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      2.32
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      2.33
                                                                                       Schedule G
                                                                                     IRS



    3.16     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      2.34
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      2.35
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      2.36
                                                                                       Schedule G
                                                                                     IRS




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.17     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      2.37
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      2.38
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      2.39
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      2.40
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      2.41
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      2.42
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      2.43
                                                                                       Schedule G
                                                                                     IRS



    3.17     Hygea Holdings                                                             Schedule D, line
    9                                                                                   Schedule E/F, line  4.144
                                                                                        Schedule G
                                                                                     IT Professional Business Solutions LLC




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.18     Hygea Holdings                                                             Schedule D, line
    0                                                                                   Schedule E/F, line 4.145
                                                                                        Schedule G
                                                                                     Ivette Cardona Ruelle



    3.18     Hygea Holdings                                                             Schedule D, line
    1                                                                                   Schedule E/F, line 4.146
                                                                                        Schedule G
                                                                                     J.L. Quality Companies of Florida



    3.18     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.147
                                                                                       Schedule G
                                                                                     Jack Mann



    3.18     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.148
                                                                                       Schedule G
                                                                                     Jaime Costa



    3.18     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.149
                                                                                       Schedule G
                                                                                     Jerry Neugebaur



    3.18     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.150
                                                                                       Schedule G
                                                                                     Joe Campanella



    3.18     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line  4.151
                                                                                       Schedule G
                                                                                     Joel Matthew Jancko, MD



    3.18     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.152
                                                                                       Schedule G
                                                                                     John Lindsay




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.18     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line   4.153
                                                                                       Schedule G
                                                                                     John Vincent Williams, MD



    3.18     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line  4.154
                                                                                       Schedule G
                                                                                     Jose Alejandro Ruiz Polo



    3.19     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line  4.155
                                                                                       Schedule G
                                                                                     Joseph Larue Richter MD



    3.19     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.156
                                                                                       Schedule G
                                                                                     Juan Arteaga



    3.19     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line  4.157
                                                                                       Schedule G
                                                                                     Kaempfer Crowell Ltd.



    3.19     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.158
                                                                                       Schedule G
                                                                                     Kaplan Cottner



    3.19     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.159
                                                                                       Schedule G
                                                                                     Katalyst FP LLP



    3.19     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line 4.160
                                                                                       Schedule G
                                                                                     Kathy Gingrich Lubbers




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                                                                                     Check all schedules that apply:
    3.19     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.161
                                                                                       Schedule G
                                                                                     Kelly Law Firm PC



    3.19     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.162
                                                                                       Schedule G
                                                                                     Kroll Discovery



    3.19     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      4.163
                                                                                       Schedule G
                                                                                     Kyrenia Sanchez



    3.19     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.164
                                                                                       Schedule G
                                                                                     Lawrence R. Klar, Jr



    3.20     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.165
                                                                                       Schedule G
                                                                                     Leistner Group LLC



    3.20     Hygea Holdings                                                             Schedule D, line
    1                                                                                   Schedule E/F, line     4.166
                                                                                        Schedule G
                                                                                     Lifestyle Marine



    3.20     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.167
                                                                                       Schedule G
                                                                                     Louis A. Biasi



    3.20     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.168
                                                                                       Schedule G
                                                                                     Lucia Beltre




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.20     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.169
                                                                                       Schedule G
                                                                                     Magalie Samson



    3.20     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line 4.170
                                                                                       Schedule G
                                                                                     Manasota Medical Management Consultants



    3.20     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.171
                                                                                       Schedule G
                                                                                     Manuel E. Iglesias



    3.20     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line    4.172
                                                                                       Schedule G
                                                                                     Manuel E. Iglesias, P.A.



    3.20     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      4.173
                                                                                       Schedule G
                                                                                     Marc Sussman, CPA



    3.20     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.174
                                                                                       Schedule G
                                                                                     Mario Medina



    3.21     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line 4.175
                                                                                       Schedule G
                                                                                     Marko & Magolnick PA



    3.21     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.176
                                                                                       Schedule G
                                                                                     Martha Castillo




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                                                                                     Check all schedules that apply:
    3.21     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line 4.177
                                                                                       Schedule G
                                                                                     MDM Worldwide Solutions



    3.21     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.178
                                                                                       Schedule G
                                                                                     Med Plan Clinic LLC



    3.21     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line  4.179
                                                                                       Schedule G
                                                                                     Med Plan Quality Care Centers LLC



    3.21     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line 4.180
                                                                                       Schedule G
                                                                                     Medical Arts Pharmacy of Sarasota LLC



    3.21     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line  4.181
                                                                                       Schedule G
                                                                                     Medical Center of Winston Towers, Inc.



    3.21     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line 4.182
                                                                                       Schedule G
                                                                                     Medical Services LLC



    3.21     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line    4.183
                                                                                       Schedule G
                                                                                     Medlife Activity Center, LLC



    3.21     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.184
                                                                                       Schedule G
                                                                                     Medsol Partners LLC




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                                                                                     Check all schedules that apply:
    3.22     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.185
                                                                                       Schedule G
                                                                                     Medtronic Inc



    3.22     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.186
                                                                                       Schedule G
                                                                                     Mega Holdings, Inc.



    3.22     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line  4.187
                                                                                       Schedule G
                                                                                     Merz North America Inc.



    3.22     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.188
                                                                                       Schedule G
                                                                                     MEV Studios



    3.22     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line 4.189
                                                                                       Schedule G
                                                                                     Miami Security Systems



    3.22     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line  4.190
                                                                                       Schedule G
                                                                                     Michael E. Horowitz, MD



    3.22     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.191
                                                                                       Schedule G
                                                                                     Microsoft



    3.22     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line   4.192
                                                                                       Schedule G
                                                                                     Mid Florida Adult Medicine LLC




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             Column 1: Your codebtor                                                 Column 2: The creditor to whom you owe the debt
                                                                                     Check all schedules that apply:
    3.22     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      4.193
                                                                                       Schedule G
                                                                                     Miguel Burgos, MD



    3.22     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.194
                                                                                       Schedule G
                                                                                     Mike Segal



    3.23     Hygea Holdings                                                             Schedule D, line
    0                                                                                   Schedule E/F, line     4.195
                                                                                       Schedule G
                                                                                     Milner, Inc.



    3.23     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.196
                                                                                       Schedule G
                                                                                     Miriam Zapata



    3.23     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.197
                                                                                       Schedule G
                                                                                     MNP, LLP



    3.23     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line    4.198
                                                                                       Schedule G
                                                                                     Mobile Clinic Services, LLC



    3.23     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.201
                                                                                       Schedule G
                                                                                     MSP Recovery LLC



    3.23     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.202
                                                                                       Schedule G
                                                                                     N5HYG, LLC




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                                                                                     Check all schedules that apply:
    3.23     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.203
                                                                                       Schedule G
                                                                                     Natasha Williamson



    3.23     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line   4.204
                                                                                       Schedule G
                                                                                     National Healthcare Brokers



    3.23     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line   4.205
                                                                                       Schedule G
                                                                                     Nelson Mullins Riley & Scarborough



    3.23     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line 4.206
                                                                                       Schedule G
                                                                                     Neptune Beach Practice Management



    3.24     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.207
                                                                                       Schedule G
                                                                                     Nevada 5, Inc.



    3.24     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line  4.208
                                                                                       Schedule G
                                                                                     Nextgen Healthcare Inc.



    3.24     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line  4.209
                                                                                       Schedule G
                                                                                     Norcal Mutual Insurance Company



    3.24     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line 4.210
                                                                                       Schedule G
                                                                                     Norman Gaylis MD, PA




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                                                                                     Check all schedules that apply:
    3.24     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.211
                                                                                       Schedule G
                                                                                     Norman Roder



    3.24     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.212
                                                                                       Schedule G
                                                                                     Orellano, LLC



    3.24     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.213
                                                                                       Schedule G
                                                                                     Orlando Benitez, MD



    3.24     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.214
                                                                                       Schedule G
                                                                                     Pablo Urbandt MD



    3.24     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line 4.215
                                                                                       Schedule G
                                                                                     Palm A. C. MSO, LLC



    3.24     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line  4.216
                                                                                       Schedule G
                                                                                     Palm Allcare Medicaid MSO, LLC



    3.25     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line   4.217
                                                                                       Schedule G
                                                                                     Palm Allcare MSO, Inc.



    3.25     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line  4.218
                                                                                       Schedule G
                                                                                     Palm Medical Network, LLC




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                                                                                     Check all schedules that apply:
    3.25     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line  4.219
                                                                                       Schedule G
                                                                                     Palm MSO System, Inc.



    3.25     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.220
                                                                                       Schedule G
                                                                                     Palm PGA MSO, LLC



    3.25     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line  4.221
                                                                                       Schedule G
                                                                                     Palm Square Center, LLC



    3.25     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line   4.222
                                                                                       Schedule G
                                                                                     Palma Ceia Storage, Inc.



    3.25     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line  4.223
                                                                                       Schedule G
                                                                                     Palmetto 103 Properties, LLC



    3.25     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.224
                                                                                       Schedule G
                                                                                     Pamela Reusch



    3.25     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line  4.225
                                                                                       Schedule G
                                                                                     Patagonia Global Trading LLC



    3.25     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line   4.226
                                                                                       Schedule G
                                                                                     Patricia Martindale, MD PA




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                                                                                     Check all schedules that apply:
    3.26     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.227
                                                                                       Schedule G
                                                                                     Patricia Weldon



    3.26     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line 4.228
                                                                                       Schedule G
                                                                                     PEBB Enterprises LLC



    3.26     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line  4.229
                                                                                       Schedule G
                                                                                     Pedrianes Holdings, LLC



    3.26     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.230
                                                                                       Schedule G
                                                                                     Pedro Pedrianes



    3.26     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line  4.231
                                                                                       Schedule G
                                                                                     Perez & Rodriguez, PA



    3.26     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.232
                                                                                       Schedule G
                                                                                     Perfectserve, Inc.



    3.26     Hygea Holdings                                                             Schedule D, line
    6                                                                                   Schedule E/F, line     4.233
                                                                                        Schedule G
                                                                                     Pfizer



    3.26     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line    4.234
                                                                                       Schedule G
                                                                                     Physician Hospital Alliance




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                                                                                     Check all schedules that apply:
    3.26     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line 4.235
                                                                                       Schedule G
                                                                                     Physician Management Associates SE, LLC



    3.26     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line  4.236
                                                                                       Schedule G
                                                                                     Physicians Care Centers of Alanta, LLC



    3.27     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line  4.237
                                                                                       Schedule G
                                                                                     Physicians Care Centers of Kissimmee LLC



    3.27     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line  4.238
                                                                                       Schedule G
                                                                                     Physicians Practice Management Assoc.



    3.27     Hygea Holdings                                                             Schedule D, line
    2                                                                                   Schedule E/F, line  4.239
                                                                                       Schedule G
                                                                                     Pie in the Sky Promotional Products



    3.27     Hygea Holdings                                                             Schedule D, line
    3                                                                                   Schedule E/F, line     4.240
                                                                                        Schedule G
                                                                                     Pitney Bowes, Inc.



    3.27     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.241
                                                                                       Schedule G
                                                                                     Podhurst Orseck, PA



    3.27     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line  4.242
                                                                                       Schedule G
                                                                                     Premier South Medical Group, PC




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                                                                                     Check all schedules that apply:
    3.27     Hygea Holdings                                                             Schedule D, line
    6                                                                                   Schedule E/F, line 4.243
                                                                                        Schedule G
                                                                                     Primum Healthcare, LLC



    3.27     Hygea Holdings                                                             Schedule D, line
    7                                                                                   Schedule E/F, line   4.244
                                                                                        Schedule G
                                                                                     Priority Healthcare Distribution Inc.



    3.27     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line  4.245
                                                                                       Schedule G
                                                                                     Professional Health Choice, Inc.



    3.27     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.246
                                                                                       Schedule G
                                                                                     Provider Vision



    3.28     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.247
                                                                                       Schedule G
                                                                                     Public Storage



    3.28     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line 4.248
                                                                                       Schedule G
                                                                                     Pure Water Technology of Georgia, LLC



    3.28     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.249
                                                                                       Schedule G
                                                                                     Quest Diagnostics



    3.28     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.250
                                                                                       Schedule G
                                                                                     Quill Corportion




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                                                                                     Check all schedules that apply:
    3.28     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.251
                                                                                       Schedule G
                                                                                     Radey Law Firm



    3.28     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line 4.252
                                                                                       Schedule G
                                                                                     Radey Thomas Yon & Clark PA



    3.28     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.253
                                                                                       Schedule G
                                                                                     Raul Tamayo



    3.28     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.254
                                                                                       Schedule G
                                                                                     Ray Gonzalez



    3.28     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      4.255
                                                                                       Schedule G
                                                                                     Rene Gonzalez



    3.28     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line 4.256
                                                                                       Schedule G
                                                                                     Reyes & Reyes MD, PA



    3.29     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line 4.257
                                                                                       Schedule G
                                                                                     Reyes & Reyes MD, PA



    3.29     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line 4.258
                                                                                       Schedule G
                                                                                     RH Management Resources




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                                                                                     Check all schedules that apply:
    3.29     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.259
                                                                                       Schedule G
                                                                                     Ricoh USA Inc.



    3.29     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line   4.260
                                                                                       Schedule G
                                                                                     Robert Half International Inc.



    3.29     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.261
                                                                                       Schedule G
                                                                                     Robert Mehl



    3.29     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.262
                                                                                       Schedule G
                                                                                     Robert Montes



    3.29     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line      4.263
                                                                                       Schedule G
                                                                                     Rodolfo Rodriguez



    3.29     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.264
                                                                                       Schedule G
                                                                                     RREEF America LLC



    3.29     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line    4.265
                                                                                       Schedule G
                                                                                     RREF III-P Doral Office, LP



    3.29     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.266
                                                                                       Schedule G
                                                                                     Rufus Joseph




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                                                                                     Check all schedules that apply:
    3.30     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.267
                                                                                       Schedule G
                                                                                     Shady Salib, MD



    3.30     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.268
                                                                                       Schedule G
                                                                                     Sheldon Staller MD



    3.30     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.269
                                                                                       Schedule G
                                                                                     SHRED-IT



    3.30     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line  4.270
                                                                                       Schedule G
                                                                                     Simply Healthcare Plans Inc.



    3.30     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line 4.271
                                                                                       Schedule G
                                                                                     Solomon & Solomon Medical Clinic, LLC



    3.30     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line 4.272
                                                                                       Schedule G
                                                                                     South Florida Pulmonary Care Inc.



    3.30     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line 4.273
                                                                                       Schedule G
                                                                                     Spectrum Business DBA Bright House Ntwk



    3.30     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line      4.274
                                                                                       Schedule G
                                                                                     Sprint Wireless




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                                                                                     Check all schedules that apply:
    3.30     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      4.275
                                                                                       Schedule G
                                                                                     Staff Care, Inc.



    3.30     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line  4.276
                                                                                       Schedule G
                                                                                     Stanton Keith Collins



    3.31     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line 4.277
                                                                                       Schedule G
                                                                                     Staples Business Advantage



    3.31     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line 4.278
                                                                                       Schedule G
                                                                                     Staples Business Advantage



    3.31     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line     2.45
                                                                                       Schedule G
                                                                                     State of Florida - Dept. of Revenue



    3.31     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line     2.46
                                                                                       Schedule G
                                                                                     State of Florida - Dept. of Revenue



    3.31     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.279
                                                                                       Schedule G
                                                                                     Stericycle, Inc.



    3.31     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line      4.280
                                                                                       Schedule G
                                                                                     Steven Feldman, MD




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                                                                                     Check all schedules that apply:
    3.31     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line 4.281
                                                                                       Schedule G
                                                                                     Stoll Keenon Ogden PLLC



    3.31     Hygea Holdings                                                             Schedule D, line
    7                                                                                   Schedule E/F, line 4.282
                                                                                        Schedule G
                                                                                     Strategic Management Services, LLC



    3.31     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line 4.283
                                                                                       Schedule G
                                                                                     Sunmed Health Center Inc.



    3.31     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line 4.284
                                                                                       Schedule G
                                                                                     Sussman Staller, MD PA



    3.32     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.285
                                                                                       Schedule G
                                                                                     Tabas & Soloff, PA



    3.32     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.286
                                                                                       Schedule G
                                                                                     Taylors Pharmacy



    3.32     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.287
                                                                                       Schedule G
                                                                                     The Weinbach Group



    3.32     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line      4.288
                                                                                       Schedule G
                                                                                     Torys LLP




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                                                                                     Check all schedules that apply:
    3.32     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.289
                                                                                       Schedule G
                                                                                     UHMC



    3.32     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line   4.290
                                                                                       Schedule G
                                                                                     United Healthcare Insurance Co.



    3.32     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line   4.291
                                                                                       Schedule G
                                                                                     United Healthcare Insurance Co.



    3.32     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line   4.292
                                                                                       Schedule G
                                                                                     United Medical Industries Corp.



    3.32     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line  4.293
                                                                                       Schedule G
                                                                                     United Medical Ventures, LLC



    3.32     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line 4.296
                                                                                       Schedule G
                                                                                     Unum Life Insurance Company of America



    3.33     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.297
                                                                                       Schedule G
                                                                                     US Health Exchange



    3.33     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line      4.298
                                                                                       Schedule G
                                                                                     USCB America




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                                                                                     Check all schedules that apply:
    3.33     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line      4.299
                                                                                       Schedule G
                                                                                     Vanessa Victorero



    3.33     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line  4.300
                                                                                       Schedule G
                                                                                     Ver Ploeg & Marino PA



    3.33     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line  4.301
                                                                                       Schedule G
                                                                                     Ver Ploeg & Marino PA



    3.33     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line  4.302
                                                                                       Schedule G
                                                                                     Ver Ploeg & Marino PA



    3.33     Hygea Holdings                                                             Schedule D, line
    6                                                                                   Schedule E/F, line  4.303
                                                                                        Schedule G
                                                                                     Vitalgenix Health & Wellness LLC



    3.33     Hygea Holdings                                                            Schedule D, line
    7                                                                                  Schedule E/F, line  4.304
                                                                                       Schedule G
                                                                                     VRG Portfolio Holdings LLC



    3.33     Hygea Holdings                                                            Schedule D, line
    8                                                                                  Schedule E/F, line      4.305
                                                                                       Schedule G
                                                                                     Vstock Transfer LLC



    3.33     Hygea Holdings                                                            Schedule D, line
    9                                                                                  Schedule E/F, line      4.306
                                                                                       Schedule G
                                                                                     W.B. Mason Co. Inc.




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                                                                                     Check all schedules that apply:
    3.34     Hygea Holdings                                                            Schedule D, line
    0                                                                                  Schedule E/F, line      4.307
                                                                                      Schedule G
                                                                                     WeirFoulds LLP



    3.34     Hygea Holdings                                                            Schedule D, line
    1                                                                                  Schedule E/F, line     4.308
                                                                                      Schedule G
                                                                                     Wellcare of Florida Inc.



    3.34     Hygea Holdings                                                            Schedule D, line
    2                                                                                  Schedule E/F, line   4.309
                                                                                      Schedule G
                                                                                     Wellstar Atlanta Medical Center, Inc.



    3.34     Hygea Holdings                                                            Schedule D, line
    3                                                                                  Schedule E/F, line 4.310
                                                                                      Schedule G
                                                                                     Wesoloski Carlson PA



    3.34     Hygea Holdings                                                            Schedule D, line
    4                                                                                  Schedule E/F, line      4.311
                                                                                       Schedule G
                                                                                     William Steele



    3.34     Hygea Holdings                                                            Schedule D, line
    5                                                                                  Schedule E/F, line   4.312
                                                                                       Schedule G
                                                                                     William Steele Holdings LLC



    3.34     Hygea Holdings                                                            Schedule D, line
    6                                                                                  Schedule E/F, line 4.313
                                                                                       Schedule G
                                                                                     Withum, Smith & Brown PC




Official Form 106H                                               Schedule H: Your Codebtors                              Page 44 of 44
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Fill in this information to identify your case:

Debtor 1                      Edward Kane Moffly, Jr.

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA, MIAMI
                                              DIVISION

Case number               22-15156-AJC                                                                     Check if this is:
(If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with           Employment status
                                                                         Not employed                                Not employed
       information about additional
       employers.
                                             Occupation              Manager
       Include part-time, seasonal, or
       self-employed work.                                           Moveo Technologies
                                             Employer's name         Corporation
       Occupation may include student or
       homemaker, if it applies.         Employer's address
                                                                     95 Merrick Way Ste 514
                                                                     Coral Gables, FL 33134-5310

                                             How long employed there?           3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        9,166.67         $             N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      9,166.67               $       N/A




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
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Debtor 1    Moffly, Edward Kane Jr.                                                                 Case number (if known)    22-15156-AJC


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      9,166.67       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $      2,214.56       $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00       $               N/A
      5e.    Insurance                                                                       5e.        $          0.00       $               N/A
      5f.    Domestic support obligations                                                    5f.        $          0.00       $               N/A
      5g.    Union dues                                                                      5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          2,214.56       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          6,952.11       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00   $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00   $               N/A
      8e.    Social Security                                                                 8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            6,952.11 + $           N/A = $           6,952.11
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in                .
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          6,952.11
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:   Plan to apply for social security benefits as soon as possible




Official Form 106I                                                      Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Edward Kane Moffly, Jr.                                                            Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA, MIAMI                                      MM / DD / YYYY
                                          DIVISION

Case number           22-15156-AJC
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent s relationship to        Dependent s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2               age              live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                                                                                   Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental        , check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on
(Official Form 106I.)                                                                                                     Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                          2,500.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.   $                              0.00
      4b. Property, homeowner s, or renter s insurance                                                     4b.   $                              0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.   $                              0.00
      4d. Homeowner s association or condominium dues                                                      4d.   $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Moffly, Edward Kane Jr.                                                                   Case number (if known)       22-15156-AJC

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                 6a.   $                               250.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                 6c.   $                                 0.00
      6d. Other. Specify:                                                                                    6d.   $                                 0.00
7.    Food and housekeeping supplies                                                                          7.   $                               850.00
8.    Childcare and children s education costs                                                                8.   $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                                75.00
10.   Personal care products and services                                                                    10.   $                                80.00
11.   Medical and dental expenses                                                                            11.   $                               300.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                 390.00
14.   Charitable contributions and religious donations                                                       14. $                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                   15a.   $                                 0.00
      15b. Health insurance                                                                                 15b.   $                               238.00
      15c. Vehicle insurance                                                                                15c.   $                               200.00
      15d. Other insurance. Specify:                                                                        15d.   $                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                               16. $                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                       17a.   $                                  0.00
      17b. Car payments for Vehicle 2                                                                       17b.   $                                  0.00
      17c. Other. Specify:                                                                                  17c.   $                                  0.00
      17d. Other. Specify:                                                                                  17d.   $                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5,                                  (Official Form 106I).               18. $                               2,000.00
19.   Other payments you make to support others who do not live with you.                                        $                                   0.00
      Specify:                                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on                                          .
      20a. Mortgages on other property                                                                      20a.   $                                 0.00
      20b. Real estate taxes                                                                                20b.   $                                 0.00
      20c. Property, homeowner s, or renter s insurance                                                     20c.   $                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $                                 0.00
      20e. Homeowner s association or condominium dues                                                      20e.   $                                 0.00
21.   Other: Specify:                                                                                        21.   +$                                0.00
      College Loan Payment                                                                                         +$                              238.00
      Time Share                                                                                                   +$                               94.98
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                      7,465.98
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                      7,465.98
23. Calculate your monthly net income.
    23a. Copy line 12(your combined monthly income) from Schedule I.                                        23a. $                               6,952.11
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              7,465.98

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -513.87

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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      Fill in this information to identify your case:

Debtor 1                    Edward Kane Moffly, Jr.
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

Case number              22-15156-AJC
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Edward Kane Moffly Jr.                                        X
             Edward Kane Moffly, Jr.                                           Signature of Debtor 2
             Signature of Debtor 1

             Date       July 26, 2022                                          Date
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Edward Kane Moffly, Jr.
 Debtor 2
 (Spouse, if filing)
                                                                                                      1. There is no presumption of abuse
                                                   Southern District of Florida, Miami
                                                                                                       2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:           Division                                                  applies will be made underChapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           22-15156-AJC                                                                    3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                                 $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                                 $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                                 $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                        Copy here -> $                          $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $               Copy here -> $                          $
                                                                                                        $                        $
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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 Debtor 1     Moffly, Edward Kane Jr.                                                                   Case number (if known)   22-15156-AJC


                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                                      $                            $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
         For you                                              $
            For your spouse                                           $
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act. Also, except as stated in the next sentence, do not
      include any compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If you received any retired pay paid under chapter
      61 of title 10, then include that pay only to the extent that it does not exceed the amount
      of retired pay to which you would otherwise be entitled if retired under any provision of
      title 10 other than chapter 61 of that title.                                                $                             $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
              .                                                                                    $                             $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                  =    $

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                     x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                    13.         $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Edward Kane Moffly Jr.
                Edward Kane Moffly, Jr.
                Signature of Debtor 1
        Date July 26, 2022
             MM / DD / YYYY
Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Debtor 1    Moffly, Edward Kane Jr.                                                                Case number (if known)   22-15156-AJC

             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                              page 3
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 Fill in this information to identify your case:

 Debtor 1           Edward Kane Moffly, Jr.

 Debtor 2
 (Spouse, if filing)

                                                   Southern District of Florida, Miami
 United States Bankruptcy Court for the:           Division
                                                                                                  Check if this is an amended filing
 Case number        22-15156-AJC
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                       12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:       Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
     family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 1).

       No.      Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                 supplement with the signed Form 122A-1.
        Yes.    Go to Part 2.


 Part 2:       Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
        No.     Go to line 3.
        Yes.    Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
              No.       Go to line 3.
              Yes.      Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                         this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
        No. Complete Form 122A-1. Do not submit this supplement.
        Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Check any one of the following categories that applies:
                                                                                                 If you checked one of the categories to the left, go to Form
                        I was called to active duty after September 11, 2001, for at least 90   122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         days and remain on active duty.                                         The Means Test does not apply now, and sign Part 3. Then
                                                                                                 submit this supplement with the signed Form 122A-1. You
                        I was called to active duty after September 11, 2001, for at least 90   are not required to fill out the rest of Official Form 122A-1
                         days and was released from active duty on                     , which   during the exclusion period. Theexclusion period means the
                         is fewer than 540 days before I file this bankruptcy case.              time you are on active duty or are performing a homeland
                                                                                                 defense activity, and for 540 days afterward. 11 U.S.C. §
                        I am performing a homeland defense activity for at least 90 days.       707(b)(2)(D)(ii).
                        I performed a homeland defense activity for at least 90 days,
                                                                                                 If your exclusion period ends before your case is closed, you
                         ending on                  , which is fewer than 540 days before I
                                                                                                 may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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              Fill in this information to identify your case:

 Debtor 1                 Edward Kane Moffly, Jr.
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Connexus Credit Union                                 Surrender the property.                                       No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a Reaffirmation            Yes
    Description of       2011 Hydrasport Runabout                            Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                 Will the lease be assumed?

 Lessor's name:                                                                                                                      No
 Description of leased
 Property:                                                                                                                           Yes

 Lessor's name:                                                                                                                      No
 Description of leased
 Property:                                                                                                                           Yes

 Lessor's name:                                                                                                                      No

Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                               page 1

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 Debtor 1      Moffly, Edward Kane Jr.                                                              Case number (if known)   22-15156-AJC

 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Edward Kane Moffly Jr.                                                 X
       Edward Kane Moffly, Jr.                                                        Signature of Debtor 2
       Signature of Debtor 1

       Date        July 26, 2022                                                  Date




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2

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              Fill in this information to identify your case:

 Debtor 1                  Edward Kane Moffly, Jr.
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           22-15156-AJC
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:         Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1 lived       Debtor 2 Prior Address:                               Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income                  Sources of income              Gross income
                                                  Check all that apply.             (before deductions and        Check all that apply.          (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                       $64,000.00            Wages, commissions,
 the date you filed for bankruptcy:                                                                               bonuses, tips
                                                  bonuses, tips
                                                      Operating a business                                            Operating a business




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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 Debtor 1     Moffly, Edward Kane Jr.                                                                      Case number (if known)   22-15156-AJC


                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income                  Sources of income             Gross income
                                                  Check all that apply.             (before deductions and        Check all that apply.         (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                      $113,000.00            Wages, commissions,
 (January 1 to December 31, 2021 )                                                                                bonuses, tips
                                                  bonuses, tips
                                                      Operating a business                                            Operating a business


 For the calendar year before that:                  Wages, commissions,                       $65,000.00            Wages, commissions,
 (January 1 to December 31, 2020 )                                                                                bonuses, tips
                                                  bonuses, tips
                                                      Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income from             Sources of income             Gross income
                                                  Describe below.                   each source                   Describe below.               (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1 s or Debtor 2 s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an
                    individual primarily for a personal, family, or household purpose.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                         No.      Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                            Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                    paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe

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       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe
       Aria Moffly                                            12/25/21                       $15,000.00           $20,000.00        College Expense / Child
       401 Redlands St                                                                                                              Support Note: Payment
       Playa del Rey, CA 90293-8035                                                                                                 Returned to Debtor
                                                                                                                                    06/29/22

       Alex Moffly                                            12/25/21                       $15,000.00           $10,000.00        College Expense / Child
       3626 Van Ness St NW                                                                                                          Support Note: Payment
       Washington, DC 20008-3129                                                                                                    Returned to Debtor
                                                                                                                                    06/29/22

       Evan Moffly                                            12/25/21                       $15,000.00           $15,000.00        College Expense / Child
       26 Seneca St                                                                                                                 Support Note: Payment
       Trumansburg, NY 14886-9177                                                                                                   Returned to Debtor
                                                                                                                                    06/29/22


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number
       RAUL TAMAYO, MIGUEL                                    Contract &                   Miami Dade Circuit Court                    Pending
       BURGOS, ESTATE OF CHARLES                              Indebtedness                                                             On appeal
       LEE BATSON, SR. v. DANIEL T.
                                                                                                                                       Concluded
       McGOWAN, MANUEL E.
       IGLESIAS, ET. AL.
       2018-000006-CA-01

       N5HYG, LLC v. HYGEA HOLDINGS                                                        United States Distrct Court,                Pending
       CORP.                                                                               D. Nevada                                   On appeal
       2:17-CV-02870-JCM-PAL
                                                                                                                                       Concluded


       N5HYG, LLC v. MANUEL IGLESIAS                          Appeal from                  Supreme Court State of                      Pending
       AND EDWARD MOFFLY                                      Judgment                     Nevad                                       On appeal
       No. 83245                                              8th Judicial
                                                                                                                                       Concluded
                                                              Circuit
                                                              Clark County
                                                              Nevada

       MANUEL IGLESIAS AND EDWARD                                                          Supreme Court State of                      Pending
       MOFFLY v. EIGHTH JUDICIAL                                                           Nevad                                       On appeal
       DISTRICT STATE OF NEVADA and
                                                                                                                                       Concluded
       HONORABLE NANCY L. ALFF
       A-17-762664-B

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10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                               Describe the Property                                         Date                   Value of the
                                                                                                                                                       property
                                                               Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                               Describe the action the creditor took                         Date action was            Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you




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      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Lubell Rosen                                                                                                          06/30/2022               $30,000.00



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
       Address                                                      property transferred                       payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of             Type of account or           Date account was       Last balance before
       Address (Number, Street, City, State and ZIP           account number               instrument                   closed, sold,           closing or transfer
       Code)                                                                                                            moved, or
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                          have it?
                                                                    and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                         have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

                          means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
         means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
                            means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                   Court or agency                            Nature of the case                  Status of the
       Case Number                                                  Name                                                                           case
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

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                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                          Describe the nature of the business               Employer Identification number
       Address                                                                                                  Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                Dates business existed
       All Care Management Services,                          Healthcare                                        EIN:         XX-XXXXXXX
       Inc HYGEA
       150 S Pine Island Rd Ste 200                           GEMRT CPAs                                        From-To      02/19/2004-10/30/2020
       Fort Lauderdale, FL 33324-2695

       Carewell Solutions, Inc. HYGEA                         Healthcare                                        EIN:         XX-XXXXXXX
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      02/01/2006-09/28/2018

       Florida Group Healthcare, LLC                          Healthcare                                        EIN:         XX-XXXXXXX
       HYGEA
       150 S Pine Island Rd Ste 200                           GEMRT CPAs                                        From-To      06/10/2014-10/30/2020
       Fort Lauderdale, FL 33324-2695

       Gemini Healthcare Fund, LLC                            Healthcare                                        EIN:         XX-XXXXXXX
       HYGEA
       150 S Pine Island Rd Ste 200                           GEMRT CPAs                                        From-To      2016-2019
       Fort Lauderdale, FL 33324-2695

       Hygea Acquisitions Longwood,                           Healthcare                                        EIN:         N/A
       LLC
       150 S Pine Island Rd Ste 200                           GEMRT CPAs                                        From-To      02/26/2014-10/30/2020
       Fort Lauderdale, FL 33324-2695

       Hygea Health Holdings, Inc.                            Healthcare                                        EIN:         XX-XXXXXXX
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      12/25/2009-08/19/2020

       Hygea Holdings Corp.                                   Healthcare                                        EIN:         XX-XXXXXXX
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      09/09/2014-11/03/2020

       Hygea IGP of Central Florida, Inc.                     Healthcare                                        EIN:         XX-XXXXXXX
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      07/07/2015-11/02/2020

       Hygea IGP, LLC                                         Healthcare                                        EIN:         N/A
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      03/11/2015-10/30/2020

       Hygea of Miami Dade County                             Healthcare                                        EIN:         N/A
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      03/11/2015-09/28/2018

       Hygea of North Miami Beach 1,                          Healthcare                                        EIN:         N/A
       LLC
       150 S Pine Island Rd Ste 200                           GEMRT CPAs                                        From-To      03/11/2015-09/28/2018
       Fort Lauderdale, FL 33324-2695

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                                Case 22-15156-AJC                      Doc 22          Filed 07/26/22              Page 198 of 199
 Debtor 1     Moffly, Edward Kane Jr.                                                                      Case number (if known)   22-15156-AJC


       Business Name                                          Describe the nature of the business               Employer Identification number
       Address                                                                                                  Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                Dates business existed
       Hygea of North Miami Beach 2,                          Healthcare                                        EIN:         N/A
       LLC
       150 S Pine Island Rd Ste 200                           GEMRT CPAs                                        From-To      03/11/2015-09/28/2018
       Fort Lauderdale, FL 33324-2695

       Hygea of Pembroke Pines, LLC                           Healthcare                                        EIN:         N/A
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      03/11/2015-10/30/2020

       Hygea Premium Acquisition, Inc.                        Healthcare                                        EIN:         N/A
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                         GEMRT CPAs                                        From-To      03/28/2017-10/30/2020

       Mobile Clinic Services, LLC                            Healthcare                                        EIN:         XX-XXXXXXX
       HYGEA
       150 S Pine Island Rd Ste 200                                                                             From-To      06/10/2011-10/30/2020
       Fort Lauderdale, FL 33324-2695

       Palm Allcare MSO, Inc. HYGEA                           Healthcare                                        EIN:         XX-XXXXXXX
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                                                                           From-To      09/15/2016-10/30/2020

       Palm PGA MSO, LLC HYGEA                                Healthcare                                        EIN:         XX-XXXXXXX
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                                                                           From-To      09/15/2016-03/27/2020

       Physicians Management Assoc EC                         Healthcare                                        EIN:         N/A
       HYGEA
       150 S Pine Island Rd Ste 200                                                                             From-To      09/09/201-10/30/2020
       Fort Lauderdale, FL 33324-2695

       Physicians Care Ctrs Orlando, LLC                      Healthcare                                        EIN:         XX-XXXXXXX
       HYGEA
       1781 Park Center Dr Ste 120                                                                              From-To
       Orlando, FL 32835-6254

       Physicians Care Ctrs Tampa Bay                         Healthcare                                        EIN:         XX-XXXXXXX
       LLC HYGEA
       Ste 101                                                                                                  From-To      04/01/2012-09/28/2018
       Tampa, FL 33607-6545

       Physicians Group Alliance, LLC                         Healthcare                                        EIN:         XX-XXXXXXX
       HYGEA
       150 S Pine Island Rd Ste 200                                                                             From-To      10/01/2020-10/08/2018
       Fort Lauderdale, FL 33324-2695

       Hygea of Delaware, LLC                                 Healthcare                                        EIN:         N/A
       150 S Pine Island Rd Ste 200
       Fort Lauderdale, FL 33324-2695                                                                           From-To


       Miguel A. Burgos MD PA HYGEA                           Healthcare                                        EIN:         N/A
       7824 Lake Underhill Rd Ste B
       Orlando, FL 32822-8201                                                                                   From-To      12/19/2016-09/28/2018




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                                Case 22-15156-AJC                      Doc 22          Filed 07/26/22              Page 199 of 199
 Debtor 1     Moffly, Edward Kane Jr.                                                                      Case number (if known)   22-15156-AJC


       Business Name                                          Describe the nature of the business                Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Moveo, LLC                                                                                                EIN:        XX-XXXXXXX
       1200 Anastasia Ave Ste 225
       Coral Gables, FL 33134-6364                            GEMRT CPAs                                         From-To     05/02/2011 - Jan 2021

       Moveo Technologies Corporation                                                                            EIN:        XX-XXXXXXX
       95 Merrick Way Ste 514
       Coral Gables, FL 33134-5310                            GEMRT CPAs                                         From-To     12/11/2020-Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                   Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

 Part 12:    Sign Below

I have read the answers on this                                and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Edward Kane Moffly Jr.
 Edward Kane Moffly, Jr.                                                Signature of Debtor 2
Signature of Debtor 1

Date         07/26/2022                                                 Date

Did you attach additional pages to                                                                                            (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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